                            EXHIBIT 25


Expert Report of Peter S. Arcidiacono, dated January 12, 2018




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 1 of 121
           EXPERT REPORT OF PETER S. ARCIDIACONO

  Students for Fair Admissions, Inc. v. University of North Carolina
                      No. 14-cv-954 (M.D.N.C.)




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Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 2 of 121
                                               TABLE OF CONTENTS

1.          Executive Summary ........................................................................................ 1

2.          Background, Data, and Methods .................................................................. 5

     2.1.     Background ........................................................................................................ 5

     2.2.     Data .................................................................................................................. 7

       2.2.1.       Data Sources ........................................................................................... 7

       2.2.2.       Scoring & Selection of Applications by UNC .............................. 9

     2.3.     Methodology ................................................................................................. 15

       2.3.1.       Measuring the Role of Race in the Selection of Applicants
                    for Admission ............................................................................................. 15

       2.3.2.       Measuring the Role of Race in the Scoring of Applicants ....................... 17

     2.4.     Admission Rates ........................................................................................ 18

     2.5.     Summary statistics ................................................................................... 20

3.          Analysis of race/ethnicity by academic deciles ....................................... 26

     3.1. Non-URM applicants have significantly higher test scores
          and grades than URM applicants. ......................................................... 27

     3.2. Admission rates are substantially lower for non-URMs within
          each academic index decile. ........................................................................ 29

     3.3. Higher academic indexes are associated with higher
          UNC ratings .................................................................................................... 32

     3.4. Basing admission on the academic index would substantially affect
          the racial/ethnic distribution of the admitted class. ......................... 34

4.          Estimates of racial/ethnic preferences in admissions ......................... 39

     4.1. Estimates of racial/ethnic preferences in admissions for in-state
          applicants ......................................................................................................... 40

     4.2. Estimates of racial/ethnic preferences in admissions for out-of-
          state applicants .............................................................................................. 46

     4.3.     Preferences for socioeconomic status and legacy ............................. 48



                                                                  ii

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 3 of 121
  4.4.     Average effects of racial/ethnic preferences ........................................ 50

  4.5.     Capacity Constraints ................................................................................. 52

5. My estimates of the magnitude of racial/ethnic preferences are likely
   understated ............................................................................................................. 56

  5.1.     Selection on observables and unobservables ...................................... 57

  5.2.     Ratings components and race/ethnicity ............................................ 61




                                                             iii

   Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 4 of 121
    1. Executive Summary

        I am a Professor of Economics at Duke University. My area of academic

expertise is labor economics; I have published numerous peer-reviewed articles

on issues of race/ethnicity and admissions decisions in higher education. I was

retained by Students for Fair Admissions, Inc., in this case to review and analyze

the data and information produced by the University of North Carolina-Chapel

Hill (“UNC”) and to answer several questions about UNC’s admissions process,

using accepted econometric and statistical methods and techniques that I have

used in my published academic work for the past fourteen years:

       •   What role does an applicant’s race/ethnicity play in admissions decisions

           made by UNC?

       •   Is race a predominant factor in UNC’s admissions process?

       •   Can any other aspects of the admissions process explain the observed

           effect of race?

        To answer these questions, I reviewed data from the admissions cycles

covering the classes of 2016 to 2021,1 including data on in-state and out-of-

state applicants. North Carolina has a policy that penalizes UNC for

enrolling less than 82 percent of its class from in state, admissions is more

competitive for out-of-state applicants. I thus analyze the two groups

separately.

        Using techniques that are standard in the field of economics, I

1Data were received for the 2017 cycle on June 16, 2017. Some students may
have been admitted off the waitlist after that date.



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     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 5 of 121
constructed a model of UNC’s admissions decisions. The model includes a

battery of controls that ensures the effect of any applicant characteristic can

be accounted for—including test scores, grades, UNC’s rating of the files

along five dimensions (program, performance, extracurricular, essay, and

personal qualities), gender, and race, among others.

       My analysis reveals substantial differences across races/ethnicities in

academic preparation both in the in-state and out-of-state datasets,

particularly when comparing UNC’s data regarding African-American and

Hispanic    applicants    (which   UNC     considers    to    be   underrepresented

minorities, or URMs)2 and Asian-American and white (non-URM) applicants.

The non-URMs have significantly higher test scores3 and high school grades

than URMs. Non-URMs also generally receive higher ratings from the UNC

admissions     officers   in   academic        performance,    academic   program,

extracurricular activities, and essays.4

       Employing statistical and econometric methods of analysis, it is my

opinion, to a reasonable degree of certainty, that:

       •   Significant preferences are given to in-state URM applicants over

2 Throughout my report I refer to African Americans and Hispanics as under-
represented minorities (URMs) and Asian Americans and whites as non-URMs.
UNC also counts Native Americans as URMs, but I do not discuss these results
as Native Americans make up less than 2% of the applicant pool.
3Indeed, in both the in-state and out-of-state datasets Asian-American and white
rejects have, on average, higher SAT math scores than African-American admits.
4 The one exception is that non-URMs score higher on the personal quality
measure assigned by UNC. My analysis indicates that this is a result of racial
preferences in the rankings themselves, as I discuss later in the report.



                                           2

    Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 6 of 121
          their non-URM counterparts. For example, the overall admit rate
          for non-URM in-state applicants over this period was 52%. Non-
          URM applicants would see an average increase in their probability
          of admission of over 10 percentage points if they were treated as
          Hispanic applicants and over 16 percentage points if they were
          treated as African-American applicants.

      •   Racial/ethnic preferences are even larger for out-of-state URMs. Out-of-
          state non-URM applicants have an admit rate of 12% over this period.
          Out-of-state non-URM applicants would see their admission rates more
          than double (rising by 20 percentage points) if they were treated as
          Hispanic applicants. And if they were treated as African-American
          applicants, their admit rates would on average increase over four-fold,
          rising by 42 percentage points.

      •   Although UNC also gives preferences to first-generation college
          (“FGC”) students, these are much smaller than the racial/ethnic
          preferences for URMs. Further, UNC gives first-generation URM
          applicants a much smaller preference for their FGC status than it
          gives first-generation non-URM applicants. Relative to the non-
          URM applicant, then, the overall preference the URM applicant
          receives would be larger if the two applicants were non-FGC than if
          they were FGC.

   This analysis actually understates the effect of UNC’s use of race, because

the magnitude of the effects depends on how strong the applicant is. Racial

preferences have little effect on those whose applications are extremely

uncompetitive. To put the magnitude of racial preferences into perspective,

consider a male, non-FGC Asian-American applicant whose observed

characteristics would imply a 25% chance of admission:

      •   If he was an in-state applicant, his probability of admission would
          increase to over 63% (i.e., more than double) had he been
          treated like an in-state Hispanic applicant, and to over 88% (more
          than triple) had he been treated like an in-state African American
          applicant across the full sample period.

      •   If he was an out-of-state applicant, his probability of admission
          would increase to over 85% had he been treated like an out-of-state
          Hispanic applicant and over 99% had he been treated like an out-of-


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  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 7 of 121
          state African-American applicant across the full sample period.5
          Simply changing this hypothetical Asian-American applicant’s race to
          either Hispanic or African-American would transform him from an
          unlikely admit to an almost certain admit.

       Holding fixed the number of admission slots and removing racial

preferences   would    significantly   change   Asian-American    and    white

representation at UNC. Fixing the number in-state admits at the levels

observed in the data and removing racial preferences would result in 1,219

additional non-URM admits over the six-year period, a 5.5% increase. Fixing

the number of out-of-state admits at the levels observed in the data and

removing racial preferences would result in 2,482 more non-URM admits

from that pool, a 25.7% increase.

       Although these numbers indicate that race plays a large role in the

admissions process, they likely understate the effect of racial preferences,

for at least two reasons:

    1. Non-URM applicants are strong on the measures that are observed in
       the data, suggesting that they would likely be strong on unobserved
       variables not in the data (e.g., number and scores on AP exams). The
       general patterns show that as controls are added, racial preferences for
       URMs increase, suggesting that adding further controls would reveal
       even larger racial preferences.

    2. There is evidence of bias in the personal quality measure that UNC
       assigns to applicants in favor of African Americans and Hispanics.
       Removing this bias would lead to even larger gains for non-URMs.

       In addition to racial/ethnic preferences, UNC gives preferential



5 Suppose instead that this hypothetical Asian-American applicant’s chances
of admission were 10%. His probability of admission would rise to 97% if he
were treated as an African-American applicant.



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    Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 8 of 121
treatment to legacies.6 The estimated models allow for a comparison of the

preferences given to legacies versus preferences for particular races and

ethnicities. The estimated preference for in-state legacies is about one-tenth

of the preference for African Americans. Preferences for out-of-state legacies

are much larger; the estimated magnitude falls in between the preferences

given to Hispanics and African Americans.

        Despite the large preference for legacies, removing legacy preferences

has little effect on the racial/ethnic composition of the admitted class, driven

in large part by the fact that only 3.3% of out-of-state applicants are legacies.7

Indeed, statistical analysis reveals that the number of URMs admitted to

UNC is minimally affected by legacy preferences. Racial preferences

dominate legacy preferences in terms of the effects on the racial/ethnic

composition of the admitted class.

    2. Background, Data, and Methods

      2.1. Background

        I earned a bachelor’s degree in Economics from Willamette University, and

I earned a Ph.D. in Economics from the University of Wisconsin, where I was

awarded a Sloan Dissertation Fellowship. I am a Professor in the Department of


6 Preferences for recruited athletes are substantial, with recruited athletes
having an admit rate of over 97% over the sample period. Athletes, however,
represent only 1.7% of non-foreign admits over this period. For the four major
racial/ethnic groups, African Americans have the greatest share of athletic
applications and admits followed by whites, Hispanics, and Asian Americans.
7The highest legacy share was for whites, followed by African Americans, Asian
Americans, and Hispanics.



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     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 9 of 121
Economics at Duke University. I joined the Duke Economics faculty as an

Assistant Professor in 1999, was promoted to Associate Professor (with tenure) in

2006, and became a Full Professor in 2010. I have taken multiple Ph.D.-level

courses in econometrics and regularly teach a Ph.D.-level class on the estimation

of dynamic models. My primary fields of interest are Labor Economics, Applied

Econometrics, and Applied Microeconomics. These fields all involve the

quantitative analysis of economic data through the application of mathematics

and statistical methods in order to draw reliable inferences that give empirical

content to economic relations.

      I have served as an editor or associate editor for several economics

journals, including serving as editor for the Journal of Labor Economics, the top

field journal in labor economics; a coeditor at Economic Inquiry and Quantitative

Economics; an associate editor for the Journal of Applied Econometrics; and a

foreign editor for The Review of Economic Studies, one of the top five general-

interest journals in economics, and one of the two top-five economics journals

that publishes pieces on econometrics.

      I have published dozens of works in peer-reviewed academic and economics

journals, and have given presentations across the country and around the world

on topics in applied economics and econometrics. I also have two survey papers

on racial preferences in higher education, including one in the Journal of

Economic Literature, widely regarded as the top journal for works synthesizing

the literature on a particular topic.




                                         6

  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 10 of 121
      In connection with my work and my research in economics and

econometrics, I regularly employ statistical methods and conduct statistical

analyses in accordance with generally accepted practices in my field. I have

applied discrete choice analysis, where the dependent variable is binary, in much

of my work, including using it to characterize the role of race in both

undergraduate and law school admissions. I have been awarded numerous grants

for research in these areas generally and in particular with regard to the nature,

impacts, and the role of race as a factor in admissions decisions in American

higher education. A complete copy of my CV, including all published works for

the past ten years, is attached in Appendix B.

      I was retained in this matter by counsel for SFFA to provide economic and

statistical analysis of UNC’s use of race as a factor in undergraduate admissions

decisions. The rate for my services in this matter is $450/hour, and is not

dependent on reaching any particular result or conclusion. As part of this effort, I

have been assisted at various points by three colleagues who worked under my

direct supervision.

      In the past four years, I testified as an expert at a deposition and trial in

the case of Sander v. State Bar of California, San Francisco City and County

Super. Court CPF-08-508880.


    2.2. Data

       2.2.1.Data Sources

      The primary data I used cover the admissions cycles from 2012 to 2017




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  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 11 of 121
(that is, for the incoming freshman classes that would make up the

graduating classes of 2016 to 2021). These data provide a substantial amount

of information on each applicant during this period of time, including data on

admissions and enrollment decisions, whether the applicant applied for early

decision, academic background measures such as test scores and grades, the

five scores that UNC’s admissions officers assign to each file, and other

demographic measures such as residency status, race/ethnicity, gender, and

whether the applicant is a first-generation college student. The data also

include information relating to several other special recruiting categories

such as scholarship finalists and athletes. Two additional admissions cycles

(2010 and 2011) provide data on admissions and enrollment decisions,

demographic variables, and test scores, but do not have data on UNC’s

rankings of the applicants. The data include information on 65,123 in-state

applicants and 135,289 out-of-state applicants for the 2012 to 2017

admissions cycles.

      Other data were made available to me. Data from the North Carolina

Education Research Data Center (NCERDC) provide additional information

at the student, teacher, and school levels. The NCERDC data are available

for approximately two-thirds of in-state applicants for academic cycles 2016

to 2019 only, and are not available for nearly all out-of-state applicants.

Census block group data are available for nearly all in-state applicants for

academic cycles 2016 to 2020. Information about the applicant’s county and




                                       8

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 12 of 121
census tract can be obtained from this census block group data.

         In order to isolate the impact of race/ethnicity on admissions decisions,

a number of observations are removed from the analysis. Tables A.2.1 and

A.2.2 document how the data were modified. First, I dropped all of those who

had incomplete applications. These individuals were all rejected. Second, I

removed those in special recruiting categories where (i) the admit rate was

above 97% and (ii) the observations were somewhat evenly distributed across

years were removed. The Appendix provides details of which recruiting

categories were removed. I also removed foreign applications, as this lawsuit

is concerned with discrimination against domestic applicants and UNC

generally treats international applicants as a distinct category, not included

in its analysis of domestic applicants and their racial/ethnic identity. I also

removed applicants who scored a zero on any of the ratings categories

because it is unclear how to interpret those ratings.8 These refinements

reduced the size of the six-year dataset to 57,225 in-state applicants and

105,632 out-of-state applicants.


          2.2.2.      Scoring & Selection of Applications by UNC

         I reviewed numerous depositions and documents produced by UNC in

this case to understand the admissions process. A complete list of documents

I reviewed is set forth in Appendix C. Based on that review, I provide the




8   This removed less than half a percent of all applicants.



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    Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 13 of 121
following overview of UNC’s admissions process:9

         UNC has two admissions cycles: early action and regular action. For the

early action cycle, applications are due in October with decisions coming in late

January. For regular action, applications are due mid-January with decisions

coming in late March. UNC’s process for reviewing applications is the same for

each cycle. UNC also has two applicant pools: in-state and out-of-state. North

Carolina policy penalizes UNC when out-of-state students exceed 18% of its

undergraduate population.10 Because there are substantially fewer slots for out-

of-state students than their in-state counterparts and around twice as many

applicants, admission to UNC through the out-of-state pool is much more

competitive.

         Applicants submit a variety of application materials to UNC either directly

or through the Common Application. All applicants are expected to submit

standardized      test   scores,   high   school   transcripts,   information   about

extracurricular activities, and any other achievements the applicant wants UNC

to consider. Applicants also submit an essay and letters of recommendation.

         All applications are randomly assigned to and read by at least one person

in the admissions office. When the first reader reviews the application, the reader

calculates the applicant’s GPA and ranking in class, if that information is

available. More importantly, that reader also scores the applicant in five

9This overview is derived largely from the deposition testimony of Steve Farmer,
Barbara Polk, Jennifer Kretchmar, Jared Rosenberg, and Ni-Eric Perkins, as
well as my review of the data and other documents referenced in Appendix C.
10   UNC Board of Governors Policy 700.1.3 (adopted March 14, 1986).



                                            10

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 14 of 121
categories: (1) program; (2) performance; (3) extracurricular; (4) essay; and (5)

personal qualities.

         For program, the reader calculates the difficulty of the student’s

curriculum on a scale from 1 to 10.11 It is based on the total number of AP, IB,

and dual enrollment courses that a student has taken. If the student has taken

between 1 and 3 of those courses, the student receives a 3. The student receives

an additional point to that score for each additional course taken up to a score of

10; at that point, additional advanced classes do not impact the program score.

         The reader rates the student’s academic performance and extracurricular

record on a scale from 1 to 10, with higher numbers associated with stronger

students on those dimensions.12 For performance, a student with all As receives a

10, a student with half As and half Bs receives a 5, 6, or 7 depending on whether

the student’s grades were falling or improving over time.13 For extracurricular,

the reader considers anything that is not part of the designated academic

curriculum with a grade and focuses on the quality of the student’s activities,

rather than the quantity.14

         The reader rates the essays and personal qualities on a 1, 3, 5, 7, and 10

scale. For essays, UNC has a grading rubric15 to evaluate strength in writing,


11   Rosenberg Depo. 243:17
12   Rosenberg Depo. 144:22-145:12
13   Rosenberg Depo. 236:13-21, 245:5-13.
14   Rosenberg Depo. 246:5-247:15
15UNC instituted this rubric in 2015. See Rosenberg Depo. 200:3-8;
UNC0064255.



                                            11

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 15 of 121
organization, vocabulary, grammar, voice, and sentence structure. For personal

quality, the reader evaluates factors such as the student’s achievements, impact

in school or community, whether the student has overcome adversity, and other

similar, unique facts about the student.16 The content of the essay, rather than

the quality of its writing, may be considered in this personal rating. And race can

be considered for this rating though readers are not specifically trained to do so.17

         Once those five scores are calculated, the reader then considers the entire

application to make a recommendation regarding admission. In addition to those

five scores, the reader considers all information from the application, including

the applicant’s standardized test scores and the recommendation letters. The

reader then makes a preliminary decision whether to admit, deny, defer (during

early action), or waitlist (during regular action) the applicant.18 UNC has

acknowledged that race can be the “tipping point” in whether a particular

applicant is granted admission.19

         Whether an application receives a second read depends on context. For the

in-state pool, if the first reader recommends to admit or deny, then the

application does not receive a second reader unless the reader specifically

requests one. But if the first reader recommends the waitlist, however, that

application will receive a second read. For the out-of-state pool, if the first reader


16   Rosenberg Depo. 249:10-250:1.
17   Rosenberg Depo. 250:13-251:5; Perkins Depo. 40:3-43:10.
18   Perkins Depo. 44:13-46:25; Rosenberg Depo. 148:10-149:20.
19   Polk Depo. 42:7-15.



                                           12

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 16 of 121
recommends to admit or waitlist, then the application requires a second read

because of the limited number of slots for out-of-state. Likewise, because the pool

is so competitive, an initial recommendation to deny does not require a second

read.20

         If an applicant receives a second read, then that reader reviews the

application in the same way as the first reader, though the second reader is

aware of the first reader’s scoring and recommended decision.21 After finishing

review, the second reader enters the preliminary decision and that application

moves on to the School Group Review (“SGR”) phase.22

         SGR takes place over about three weeks for both admissions periods. UNC

 has stated that the SGR process has two primary goals.23 First, it allows the

 admissions office to consider its expected enrollment for the incoming class and

 then, as part of trying to avoid over- or under-enrollment, adjust the total

 number of applicants who receive an offer of admission. Second, it serves as a

 quality control measure that allows senior members of the admissions office to

 review the readers’ provisional admissions decisions to ensure that decisions for

 applicants from the same high school are reasonable in context.24

         To that end, the SGR process does not involve the entire admissions staff;



20   Rosenberg Depo. 122:10-123:4,148:10-149:20.
21   Rosenberg Depo. 135:18-21, 144:21-145:20.
22   Rosenberg Depo. 149:9-20, 177:22-179:3.
23   UNC0079438 (Rosenberg Ex. 8).
24   UNC0079438 (Rosenberg Ex. 8); Rosenberg Depo. 178:11-181:24.



                                          13

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 17 of 121
 generally, only senior staff and experienced readers conduct that process.

 During the review, each high school’s applicants are initially sorted by GPA,

 with the applicants’ preliminary admissions decisions listed. The SGR reviewer

 evaluates each applicant’s status in comparison with other students from that

 same high school. The reviewer can then change an applicant’s status if the

 reviewer disagrees with the recommended decision. The applicant’s race is

 available to the SGR reviewer during the decision-making process even though

 UNC recently removed it from the SGR reports themselves. Once the SGR

 decisions are finalized, UNC releases its admissions decisions to the

 applicants.25

         In addition to these procedures, UNC compares the preliminary makeup of

the current class to the preliminary makeup of the previous year’s class at the

same point in time in that prior year’s process. Until this lawsuit was filed in

November 2014, the admissions office made available to its staff the racial

makeup of the current class as compared to the racial makeup of the previous

year’s class as the process moved forward. That information was also discussed at

meetings of the entire admissions staff, including those who were involved in the

admissions reading process. Around the time this lawsuit was filed, UNC

changed its policy and only Steve Farmer and Barbara Polk have access to that

information after the early action period is completed.26



25   Rosenberg Depo. 182:1-187:10; Polk Depo. 31:5-13, 56:8-57:19, 128:15-131:7.
26   Polk Depo. 32:9-34:18, 42:16-46:21



                                           14

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 18 of 121
    2.3. Methodology

       2.3.1.Measuring the Role of Race in the Selection of Applicants for
            Admission

      Examining how decisions are made with regard to who is admitted to a

college, who is hired for a job, or whether to attend a college are complicated

processes depending on many factors. Some of the factors that affect these

decisions will be readily observed, while other factors may be difficult to quantify

or not in the data. Yet despite these processes being complicated, it is still

possible to utilize the data to understand how decisions are made through

statistical and econometric methods. Indeed, much of empirical economics does

exactly this.

      So although UNC purports to use a “holistic” admissions process, one can

still quantify the role various factors play in the admissions decisions. Those who

are admitted have different characteristics than those who are rejected, which

has implications for how these characteristics affect the admissions decision.

      To evaluate the magnitude of racial preferences for URMs in admissions, I

use generally accepted methods for analyzing outcome variables that can take on

only one of two values. Here the outcome measure is whether or not a particular

applicant is admitted. A standard way of estimating a model with a binary

outcome is to use a logit model. The mathematical basis for the model is

described in Appendix D.

      By making an admission decision, UNC reveals an implicit ranking of the

applicants: those who are admitted were ranked higher than those who were not




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  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 19 of 121
admitted. This ranking depends on characteristics that are seen in the data and

other factors that are not. By estimating a model of how UNC makes their

admission decisions, I can calculate an applicant’s probability of admission given

their observed characteristics. This probability reflects how often the applicant

would be admitted if this applicant was seen multiple times, each with a different

value of their unobserved characteristics.27

         One of the observed characteristics included in the model is the race of the

applicant. The relationship between this variable and the admission decision

depends on what controls are included in the model. By controls, I mean factors

that may affect the admissions decision but also may vary by race. For example,

suppose group A has the same admit rate as group B, but group A has higher test

scores than group B. Assuming that higher test scores make admission more

likely, excluding test scores would make it appear as though being a member of

group A or B did not matter for admission. By controlling for test scores, one can

show that group A was being held to a higher standard than group B, all else

equal.

         One of the key advantages of the UNC database is that the set of observed

characteristics is more robust than what is typically available. Many peer-

reviewed     studies   in   excellent   journals   have   been   published   analyzing

discrimination with data of much lower quality. But there is nonetheless the

issue, which is faced by all discrimination studies using observational data, of

27 In fact, UNC has developed and used similar models for its own purposes. See,
e.g., UNC0090652.



                                             16

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 20 of 121
whether accounting for unobserved characteristics would lower the estimated

magnitude of racial preferences.

      For example, consider differences in earnings across college majors. A

large gap exists, with those in engineering and business typically earning more

than those who majored in humanities and education. However, when controls

for test scores and hours worked are included, the gap shrinks. A remaining

question, then, is whether additional controls would lead to a further shrinking of

the gap or would eliminate the gap altogether. The assumption operating in the

background is that if one group is stronger on the observed measures, it is

reasonable to believe that the same group is also stronger on the unobserved

measures. If, however, including additional characteristics leads to a widening of

the gap between the two groups, then it is reasonable to expect that if more

controls were added, the gap would, if anything, increase.


       2.3.2.Measuring the Role of Race in the Scoring of Applicants

      Importantly, the observed applicant characteristics themselves may be the

result of racial penalties and preferences. For example, suppose URMs also

receive preferences for race in connection with one of UNC’s component ratings.

Controlling for a measure that already incorporates a preference would result in

under-estimating the magnitude of preferences URMs receive.

      To assess whether there are racial preferences in the rating themselves, I

use a similar approach to that used in detecting racial preferences in the

selection of applicants for admission, except that now the rating itself is the




                                         17

  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 21 of 121
dependent variable. Here, I have more information because UNC’s ratings are

not simply zero or one but take on a number of discrete values (e.g. 3, 5, 7). These

discrete values again show UNC’s implicit ratings of the applicants on various

measures. A standard technique for modeling ordinal ratings is an ordered logit.

An ordered logit is based on the premise that with access to all of the observed

and unobserved characteristics I would be able to match UNC’s rating. This

rating would result in cutoffs where those above a certain cutoff would receive a

10, then those above the next cutoff would receive a 9, etc.

      Further, I can see how adding controls affect the coefficients on

race/ethnicity. To the extent that significant differences across races/ethnicities

remain after controlling for observed characteristics, I can see whether the

remaining differences are consistent with the patterns expected from the

observed    characteristics.   For   example,   if   non-URM     applicants    have

characteristics that would suggest they should receive higher ratings than

URMs, but they receive lower ratings, this would be evidence of racial

preferences in the ratings themselves.


    2.4. Admission Rates

      I first consider admission rates by race/ethnicity and whether the

applicant is in-state or out-of-state. These are reported in Table 2.1. The

first three columns show the following:

      (i)    the admit rate for in-state applicants of a particular

             race/ethnicity,




                                          18

  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 22 of 121
      (ii)    the share of in-state applicants that are a particular

              race/ethnicity, and

      (iii)   the share of in-state admits that are of a particular

              race/ethnicity.

      The next three columns repeat the analysis but this time for out-of-

state applicants. The final three columns pool the two groups.


Table 2.1: Admission Rates, Applicant Shares and Admit Share (%) by Race and
Applicant Type




Notes: The row labelled “Total” denotes the overall admit rate for the admit rate
column and sample sizes for the applicant share and admit share columns
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx.

      The difference between the overall admit rates for in-state and out-of-state

applicants is striking. The overall admit rate for out-of-state applicants is

13.5%, while for in-state applicants it is 47.9%. Practically speaking, then,

UNC’s admissions process operates almost like two different schools. For out-

of-state applicants, UNC is a highly selective school; for in-state applicants,

UNC is moderately selective.

      In-state non-URM applicants (i.e., Asian Americans and whites) have

significantly higher admit rates than their African-American and Hispanic


                                         19

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 23 of 121
counterparts. But out-of-state URM applicants have much higher admit rates

that out-of-state non-URM applicants. In particular, Hispanic applicants have

the highest out-of-state admit rate for all racial/ethnic groups; and the

admission rate for out-of-state African-American applicants is five percentage

points higher than for out-of-state white applicants. As a result, although the

in-state share of applicants who are African American is larger than the

corresponding out-of-state share, the share of out-of-state admits who are

African American is two percentage points higher than the corresponding

in-state share.

      Table 2.2 reports the results by class year. In every year, African-

American and Hispanic admit shares are below their application shares in

the in-state data and above their application shares in the out-of-state data.

For white applicants, the reverse is true.

      The data reported in Tables 2.1 and 2.2 show the overall admission

rates and therefore do not account for differences in preparation across

racial/ethnic groups. The rest of this report is designed to explain the role of

race/ethnicity    in   admissions    after   accounting   for   differences   in

preparation.


    2.5. Summary Statistics

      Table 2.3 presents summary statistics of our overall sample, by

admissions status and by applicant race for the main race categories. Table

2.4 repeats the analysis for out-of-state applicants.




                                        20

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 24 of 121
Table 2.2: Admission Rates, Applicant Shares and Admit Share (%) by Race,
Applicant Type, and Class Year




Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx.




                                       21

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 25 of 121
Table 2.3: Application Summary Statistics by Race: In-State Applicants




Note: Essay and Personal Quality are given across the set (1, 3, 5, 7, 10) though five is by far the most common
score.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 26 of 121
Table 2.4: Application Summary Statistics by Race: Out-of-State Applicants




Note: Essay and Personal Quality are given across the set (1, 3, 5, 7, 10) though five is by far the most common
score.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 27 of 121
         Within each racial/ethnic group, there is a set of background

characteristics that are positively correlated with being admitted. This can be

seen in Table 2.3 by comparing the numbers for the first column in each

group with the numbers in the second column in each group. Factors that are

positively correlated with admission are:

      • Test scores and grades: Both SAT math and SAT verbal scores are at
        least half of a standard deviation higher for admits than rejects
        within each racial/ethnic group. And admits in each group have high
        school grades that are on average at least a half standard deviation
        higher than their rejected counterparts.

      • UNC rankings: Those who are admitted rank substantially higher than
        those who have been rejected on each of UNC’s ranking measures.

      • Legacy: In each racial/ethnic group, admits are more likely to be
        children of alums. 28

         As the later models of admission show, these same factors are

positively related to admission, even after accounting for other factors. The

exception is FGC status; the lower admit rates for these students are driven

by these students having lower test scores and ratings. Once I account for

differences in academic background and UNC’s ratings, FGC status is

positively associated with admission.

         There are substantial differences in academic qualifications across

racial/ethnic groups. Looking at the in-state applicant pool, non-URMs have

higher standardized test scores and high-school grades than their URM

28These same patterns also hold for out-of-state admits (see Table 2.4) though
the difference in grades between accepted and rejected students is in some
cases as low as a third of a standard deviation.



                                        24

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 28 of 121
counterparts. In particular, Asian-American applicants have higher SAT

math scores—over 0.8 of standard deviations higher than Hispanic applicants

and more than 1.2 standard deviations higher than African-American

applicants. White applicants likewise have substantially higher SAT math

scores than URM applicants. Asian and white applicants have SAT verbal

scores that are 0.4 higher than Hispanic applicants and almost one standard

deviation higher than those of African Americans. The same is true for high

school grades. Non-URM applicants have high school grades that are more

than 0.3 standard deviations higher than Hispanic applicants and 0.7

standard deviations higher than African American applicants.

         UNC’s rankings of in-state applicants exhibit similar patterns, as

reported in the last set of rows of Table 2.3. On four of the measures–

program, performance, extracurricular activities, and essay–Asian-American

and white applicants are stronger than their URM counterparts. The one

exception is the personal quality rating, where Hispanics are the most highly

rated.

         For the in-state dataset, then, non-URMs are admitted at a higher rate

but also have higher test scores, grades and UNC ratings (with the exception

of the personal quality rating). For out-of-state applicants, however, the admit

rates for Hispanics were highest and the admit rate for African Americans

was higher than that of whites. Yet, Table 2.4 shows that the gaps between

URMs and non-URMs with respect to academic qualifications are just as




                                         25

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 29 of 121
large in the out-of-state applicant pool as they are in the in-state applicant

pool. Out-of-state Asian-American and white applicants have SAT math

scores that are 0.85 and 0.35 standard deviations higher than Hispanic

applicants, respectively. The gaps between SAT math scores for non-URMs

and African Americans is even larger, at 1.5 standard deviation for Asian

Americans and 1 standard deviation for whites. In fact, out-of-state Asian-

American rejects have SAT math scores that are 0.45 standard deviations

higher than African-American admits.

      As with the in-state dataset, out-of-state Asian Americans rank higher

on UNC’s ratings than their URM counterparts with the exception of the

personal quality ratings. For the personal quality rating, Asian Americans

have similar scores to African Americans and lower scores than Hispanics.

Whites also score higher on all ratings than African Americans with the

exception of the personal rating, but they have slightly lower program scores

and similar essay scores to Hispanics.

3. Analysis of Race/Ethnicity by Academic Deciles

      Given the large differences seen in observed characteristics across

races/ethnicities, I first do a simple analysis to examine racial/ethnic

differences   in   admission   rates   for    students   with   similar   academic

backgrounds. To do this, I construct an “academic index” by taking a weighted

average of the applicant’s SAT score and high school GPA. This is done by (i)

adding the SAT math and verbal scores, (ii) converting the resulting SAT

score to have a mean zero and a standard deviation of one, (iii) converting


                                         26

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 30 of 121
high school GPAs to have mean zero and a standard deviation of one for those

whose GPA is on a four-point scale, and (iv) adding the two measures together

to form the academic index.29 I then partition the academic index into deciles

to show how the patterns of admissions differ by race/ethnicity for students

who fall within the same academic index decile.


      3.1. Non-URM applicants have significantly higher test
           scores and grades than URM applicants.

         Table 3.1 shows the number and share of each race/ethnicity in each

academic index decile for the in-state data. It demonstrates that non-URMs

are substantially more academically qualified than URMs. To begin, the first

row of Table 3.1 gives the number and share of applicants from each racial

group in the bottom decile of the academic index. There are far fewer non-

URMs than URMs (by share) in this lowest level of academic qualifications:

the share of Asian Americans and whites in the bottom decile are 6.5% and

5.2% respectively; in contrast, 16.9% of Hispanics and 32.7% of African

Americans are in the bottom decile. Notably, over 31% of Hispanics and 53%

of African-Americans are in the bottom two deciles. Moving to higher deciles

shows the share of URMs falling and the share of non-URMs rising. The top

decile features 19.8% of Asian-American applicants and 10.7% of white

applicants, whereas only 3.7% of Hispanics and less than 1% of African

Americans are in the same decile.

29Note that approximately 5% of the in-state dataset and approximately 30% of
the out-of-state data set either do not have an SAT score (either imputed or
actual) or was not graded on a four point scale.



                                       27

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 31 of 121
Table 3.1: In-State Number and Share in Each Academic Index Decile by
Race/Ethnicity




Notes: The academic index decile is based on the sum of two z-scores: one for the
applicant’s SAT score (math and verbal) and one for GPA.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx.



Table 3.2: Out-of-State Number and Share in Each Academic Index Decile by
Race/Ethnicity




Notes: The academic index decile is based on the sum of two z-scores: one for the
applicant’s SAT score (math and verbal) and one for GPA.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx.


      Table 3.2 shows similar disparities in the out-of-state academic indexes

between non-URMs and URMs. The share of Asian Americans and whites in




                                         28

  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 32 of 121
the bottom decile are 4.4% and 6.8% respectively, whereas 13.1% of Hispanics

and 39.2% of African Americans are in the bottom decile. Over 58% of African

Americans are in the bottom two deciles. As with the in-state sample, the

share of URMs drops while the share of non-URMs rise when moving to the

higher academic deciles. Ultimately, less than and 8.9% of Hispanics and 2%

of African Americans are in the top decile, compared to 17.0% of Asian

Americans and 9.4% of whites.


   3.2. Admission rates are substantially lower for non-URMs
        within each academic index decile.

      That non-URM applicants tend to have much higher academic

qualifications than URM applicants (as measured by the academic index) is

relevant only if higher academic indexes are strongly correlated with

admission. Table 3.3 demonstrates that this is in fact the case. For the in-

state applicant group, admission rates within each academic decile are at

least four percentage points lower than the next decile, which demonstrates

that admission becomes increasingly likely as the academic index rises. Not

only that, but the overall admission rate in the bottom decile is below 1%

while in the top decile it is almost 99%. Clearly, then, higher academic

indexes are strongly correlated with admission.




                                      29

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 33 of 121
Table 3.3: In-State Admission Rates by Academic Index Decile and
Race/Ethnicity




Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx.


      There are substantial differences, however, between the admissions

rates of different racial/ethnic groups within the same academic index decile.

With the exception of the top decile (where admission rates are above 97% for

every race/ethnicity), URMs have higher admit rates than non-URMs in every

decile. But what is striking is how much higher the admission rates are for

under-represented minorities. Consider the fifth decile. Non-URMs have

admission rates below 30% in this decile. But the corresponding admission

rates for URMs are much higher—Hispanic admit rates are over 53% (23

percentage points higher) and African-American admit rates are over 71% (41

percentage points higher). Despite admission rates being higher for Hispanics

and African Americans in each decile, the overall admit rates for these groups

is lower than for non-URMs, as they are disproportionately in the bottom



                                       30

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 34 of 121
deciles of the academic index.

      Results for the out-of-state data are shown in Table 3.4. Admission

rates in the bottom decile are less than one percent, and in the top decile are

47%. The racial/ethnic discrepancies are even more striking in the out-of-

state data than in the in-state data. Here, the overall African-American

admit rate is higher than the overall admit rate of whites, and similar to that

of Asian Americans—despite substantially more African Americans having

academic indexes in the bottom deciles. In the sixth decile, African Americans

had over a 46% chance of being admitted. But the corresponding rates for

non-URMs was around 5%. Indeed, African Americans in sixth decile have

admit rates that are over four and a half percentage points higher than

whites in the top decile. Hispanics too have substantially higher admission

rates than non-URMs in deciles beyond the first; the admit rate for

Hispanics in the sixth decile was 22%.




                                         31

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 35 of 121
Table 3.4: Out-of-State Admission Rates by Academic Index Decile and
Race/Ethnicity




Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx.



   3.3. Higher academic indexes are associated with higher
        UNC ratings

      I now show that those who have higher academic indexes also tend to have

higher scores on each of UNC’s ratings. For each of UNC’s ratings (program,

performance, extracurricular activities, essay, and personal quality), I

construct an indicator variable for whether the applicant received a rating

above the median. For example, combining both the in-state and out-of-state

data sets shows that 50.6% of applicants received a six or lower on the

program score. For the program variable, then, an applicant would be given a

one (i.e., above the median) if she scored a seven or higher on the program

rating, and a zero otherwise.

      Table 3.5 reports the share of each academic index decile that has a




                                       32

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 36 of 121
rating above the 50th percentile for each of UNC’s ranking measures

separately for the in-state and out-of-state datasets. Not surprisingly, the

share receiving a rating above the median for the program and performance

ratings rises substantially with each decile of the academic index for both

data sets. For example, the share of those in the bottom decile with program

ratings above the median is 15% in the in-state sample, but rises to 89% in

the top decile. The same is true for performance: the share above the median

in the bottom decile is 1.8%, but rises to the 84.4% in the top decile.




Table 3.5: Share above Median Rating by Academic Index Decile




Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx.


      Higher academic indexes are also positively correlated with UNC’s

extracurricular activity, essay, and personal quality ratings. Among in-state

applicants, the share above the median on extracurricular activities is 8.4%

in the bottom decile, but 40% in the top decile; for the essay the rate is 2% in

the bottom decile and 22% in the top decile; and for personal qualities the




                                         33

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 37 of 121
rate is 11% in the bottom decile and 29% in the top decile. Similar gaps are

seen in the out-of-state sample. It follows that those who are strong

academically also tend to be strong on non-academic measures.


       3.4. Basing admission on the academic index would
            substantially affect the racial/ethnic distribution of the
            admitted class.

         In this section, I examine how the admitted class would change if the

academic index was the only consideration in admissions decisions. Although

the factors that make up the academic index are not the only considerations

in UNC’s admissions decisions, the academic index is highly correlated with

both UNC’s ratings of applicants and the ultimate decision whether to admit

or deny applicants.30 Determining what the admitted class would look like if

the academic index were the only consideration enables me to establish a

benchmark for how accounting for other non-race-based characteristics affect

estimates of the removal of race-based preferences.

         First, consider in-state applicants. Over the course of the six-year

period, the in-state dataset includes 24,808 admitted students who had valid

test score information, had high-school grades measured on a four-point scale,

and were one of the four major racial/ethnic groups. Table 3.6 shows the

number of admits and share of the admitted class by race under different

admission scenarios. The first row of Table 3.6 shows the actual racial/ethnic

distribution of admits for this group as well the share of the admitted class


30   See Table 3.5.



                                        34

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 38 of 121
four each of the four major racial/ethnic groups. Whites, African Americans,

Hispanics, and Asian Americans make up 72.9%, 9.2%, 5.7%, and 12.3%

respectively of the admitted class from this group of applicants.

         The second row of Table 3.6 shows how the admitted class would change

if admission was based solely on taking those from the highest deciles of the

academic index, holding fixed the number of admits at 24,808. In this case,

all applicants from deciles seven through ten would be admitted as would a

random 75.6% of those in decile six. The number of admitted white and

Asian-American applicants would increase by 1175 and 428 respectively,

resulting in the share of the admitted class for white and Asian-American

applicants increasing by 4.7 and 1.7 percentage points respectively.31 These

gains for white and Asian-American applicants would correspond with

equally large admission losses for Hispanic and African-American applicants,

especially for the former. The number of African-American and Hispanic

admits would fall by 383 and 1,220, respectively. The shares of the admitted

class for Hispanic and African-American applicants thus would fall by 1.5

and 4.9 percentage points, respectively.




31 Note that this is an underestimate of the total effect because approximately 5%
of the in-state dataset either does not have an SAT score or was not graded on a
four-point scale.



                                         35

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 39 of 121
Table 3.6: Number and Share of In-State Admits under Different Admissions
Scenarios Based on Deciles of the Academic Index




Notes: The label “Random X” refers to a model in which applicants from the top X
deciles are selected randomly via lottery.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx.


      The next set of rows of Table 3.6 shows how the distribution of the

admitted class would change if admissions were conducted by lottery among

those of a minimal level of academic qualifications (specifically, conditional

on being in a particular academic index decile or above). Extending this

lottery to lower academic index deciles would result in higher shares of

African Americans and Hispanics. However, the number of under-represented

minority admits would not exceed the actual number of under-represented

minority admits unless the lottery were to include the top nine academic

index deciles; lotteries including only the top eight deciles would result in

lower shares of URM admits.

      Repeating this exercise with the out-of-state dataset produces more

striking results. Similar to Table 3.6, the first row of Table 3.7 shows the

number and share of the admitted class for out-of-state applicants who had


                                        36

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 40 of 121
valid test score information, high-school grades measured on a four-point

scale, and were one of the four major racial/ethnic groups. The total number

of admits for this group over the six years of data was 8,933 and the overall

admit rate was 12.9%. Whites, African Americans, Hispanics, and Asian

Americans make up 52.9%, 12.7%, 14.1%, and 20.2% respectively of the

admitted class from this group of applicants.

         As shown in the second row of Table 3.7, admissions based solely on

academic index decile would result in all applicants in the top decile being

admitted and 27.7% of those in the next decile. This would have resulted in

920 and 575 more white and Asian-American admits, respectively.32 The

share of the admitted out-of-state class would rise by 10.3 percentage points

for whites and by 6.4 percentage points for Asian Americans. The number of

Hispanic and African American admits would fall by 523 and 972

respectively.




32Note that this is an underestimate of the total effect because 30% of the out-of-
state dataset either does not have an SAT score or was not graded on a four-point
scale.



                                         37

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 41 of 121
Table 3.7: Number and Share of Out-of-State Admits under Different Admissions
Scenarios Based on Deciles of the Academic Index




Notes: The label “Random X” refers to a model in which applicants from the top X
deciles are selected randomly via lottery.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx.


         The next set of rows of Table 3.7 shows how the admitted class would

change if admissions were a lottery conditional on being in a particular

academic index decile or above. Even randomly drawing from the top five

academic index deciles33 would result in dramatic shifts of the racial/ethnic

composition of the admitted class. The share of the admitted class that was

Hispanic would fall from 14.1% to 8.1%. African Americans make up 12.7%

of the out-of-state admits for this group of students; their share would be 3%

under a lottery over the top five deciles.

         UNC, of course, bases its admissions on more than academics. So in the


33As shown in Table 3.4, admit rates for whites and Asian Americans in the
sixth decile are 5.3% and 4.6%.



                                         38

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 42 of 121
abstract, it is possible that URM applicants are stronger on other non-race-

based characteristics that UNC values and these figures therefore overstate

how removing race-based preferences would affect the composition of the

admitted class. The rest of this report highlights how controlling for

additional characteristics affects the estimated impact of removing race-

based preferences.

4. Estimates of Racial/Ethnic Preferences in Admissions

      Tables A.4.1 and Table A.4.2. show estimates of a series of logit models

of admission for the in-state and out-of-state dataset, respectively. Figure 4.1

lists the controls that each model includes. Each successive model includes

more controls than the preceding one.




                                        39

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 43 of 121
     Figure 4.1: Controls Used for Different Models of UNC’s Admissions Decisions

     Model 1         Race/ethnicity, female, early or regular decision, alum, first
                     generation, fee waiver, missing fee waiver, and year
                     indicators
     Model 2         Model 1 plus SAT math*; SAT verbal*; missing SAT times
                     race/ethnicity; GPA*; missing GPA times race/ethnicity;
                     percentile; percentile times non-standard rank type, missing
                     percentile times year; race/ethnicity; non-standard rank
                     type; non-standard rank type times race/ethnicity; indicators
                     for different ways of imputing SAT
                      *indicates variable was z-scored, GPA is only for those on a
                     4pt scale
     Model 3         Model 2 plus indicators for UNC program, performance,
                     activity, essay, and personal quality score
     Model 4         Model 3 plus intended college major; female interacted with
                     race/ethnicity; first-generation interacted with race/ethnicity
     Model 5         Same as model 4 but only for the set of students from high
                     schools that had a minimum number of applications and
                     admits
     Model 6         Model 5 plus high school fixed effects

     Model 7         Same as model 6 but only for the set of students with census
                     tract data who had a minimum number of applications and
                     admits
                      *Note this is only for the in-state models



       4.1. Estimates of racial/ethnic preferences in admissions for
            in-state applicants

         Considering first the in-state dataset, the base model with no controls

for academic preparation show negative coefficients for African Americans

and Hispanics and a positive coefficient on Asian American.34 This is

consistent with Table 2.1, which showed that African Americans and

Hispanics had lower admit shares than application shares when considering


34These negative coefficients are relative to whites, where the white coefficient is
normalized to zero.



                                            40

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 44 of 121
in-state applicants. Adding test scores and grades (column 2) dramatically

changes the picture: now the coefficients on African American and Hispanic

are both large and positive, with the coefficient on Asian-American small and

insignificant. This change in the patterns occurs because Asian-American in-

state applicants have significantly higher grades and test scores than their

African-American and Hispanic counterparts. Even with limited controls, the

estimated preferences are substantial. For example, the admit rate for an

Asian-American applicant whose observables would imply a 25% chance of

being admitted would increase to over 53% if the applicant was given the same

preference as a Hispanic applicant and to over 66% if the applicant was

treated as an African-American applicant.

      However, as shown in the columns 3 through 8, the estimated

preferences in column 2 are underestimates of the preference URMs receive

over non-URMs. Adding controls for UNC’s ranking of the applicants (column

3), allowing for demographic heterogeneity and controlling for intended major

(column 4), adding controls for high school attended (high school fixed effects)

(column 6), and adding controls for census tract all substantially increase the

coefficients on African American and Hispanics.

      Columns 4 through 8 show that the magnitude of the admissions

preference in-state URM applicants receive also depends on gender and FGC

status. Particularly striking are the interactions with FGC status. Column 4

shows that the magnitude of the FGC preference is less than 30% of the




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 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 45 of 121
magnitude of the racial preference African-American male applicants receive.

However, first-generation URM applicants do not receive the same FGC

preference as white students. First-generation Hispanic applicants receive a

preference for FGC status that is 25% to 50% smaller in magnitude than the

FGC preference received by white students depending on the model.35 More

striking is that first-generation, in-state African-American applicants do not

receive any preference for their FGC status.36 These results show that racial

preferences are stronger for those who are not FGC than for those who are

FGC. To illustrate, consider two applicants, one who is African American and

one who is non-URM. Relative to the non-URM applicant, the overall

preference the African-American applicant receives would be larger if the two

applicants were non-FGC than if they were FGC.37

         To better understand the magnitude of racial/ethnic preferences, as

well how the magnitude varies with gender and first-generation college

status, Table 4.1 shows how Asian-American and white students’ admissions



35 The interaction between FGC status and Asian American is small and
insignificant, implying that the effect of FGC status for Asian-American
applicants is similar to the effect of FGC status for whites.
36The negative coefficient on the interaction cancels out the base preference for
FGC status.
37 The interaction of FGC status and race for in-state URM applicants could be
viewed another way—specifically as first-generation URM applicants receiving a
“full” FGC preference but receiving a diminished racial preference compared to
their non-FGC URM counterparts. Either way, it is apparent that UNC treats
first-generation URMs no differently than non-first-generation URMs, which (as
explained above) disadvantages first-generation URMs (relative to non-first-
generation URMs) when compared against non-URMs.



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     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 46 of 121
chances would change had they been treated like African Americans or

Hispanics. These predicted changes use the estimates from models 4, 6, and

8, showing results for Asian Americans in the first panel and results for

whites in the second panel.

         The first row of Table 4.1 considers an in-state male Asian American

who was not first generation and whose observed characteristics (e.g. test

scores, grades, etc.) would give him a 25% chance of admission. The first

entry shows how his admissions chances would change using the estimates

from model 4. Using the estimates from column 4 shows his chances would

increase to 63.8% if treated as a Hispanic applicant. If he were instead

treated as an African-American applicant, his admission chances would

increase to 88.9%. The next row considers an Asian American applicant with

the same characteristics but now with a 10% chance of admission. His

probability of admission would increase to 72.7% if treated as an African

American using the estimates from model 4.38 In other words, these

hypothetical non-URM applicants who are highly likely to be rejected would

be transformed into highly likely admits if they were URMs, and all other

characteristics stayed the same.




38 The effects would be slightly larger if the hypothetical student were white
rather than Asian American.



                                        43

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 47 of 121
Table 4.1: The Magnitude of Racial/Ethnic Preferences for In-State Applicants




Notes: Model 4 controls for applicant demographic and academic characteristics
and ratings. Model 6 includes the same controls as Model 4 plus high school fixed
effects. Model 7 includes the same controls as Model 4 plus high school and
census tract fixed effects. See Appendix Table A.4.1 for details.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx, UNC0379830.xlsx, UNC0379831.xlsx,
UNC0379832.xlsx, UNC0379833.xlsx, UNC0379838.xlsx.


      Adding high school fixed effects (model 6) and census tracts (model 7)

substantially increases the estimated magnitude of racial preferences as

shown in the second and third columns. These models account for unobserved

differences in high school quality and other unobserved variables that are

correlated with location. An in-state male Asian-American applicant with a

25% chance of admission would see his admissions chances increase to 93.6%




                                        44

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 48 of 121
and 96.9% if treated as an African American based on the estimates of models

6 and 7, respectively. And model 7 predicts that an Asian-American applicant

with a 10% chance of admission would see his probability jump to 91.1% if he

was instead treated as an African American. That is, changing only the race

of this hypothetical Asian-American male applicant—and keeping all other

factors the same—would transform him from being a highly likely reject to a

near-certain admit.39

         Because African-American females and first generation African

Americans receive a smaller overall preference than African American males

who are not first generation, the gains for non-URMs are smaller–but

nonetheless substantial–in the remaining rows of the top panel. To illustrate,

an Asian-American female applicant with first-generation status and a 25%

chance of admission would see her probability of admission increase to 74.9%

and 78.6% if she were treated as an African-American applicant (based on the

estimates of models 4 and 6, respectively). And her probability of

admission would increase to 85% based on the estimates of model 7.40

These comparisons underscore the impact that race has on an applicant’s

chances of admission.




39As with the previous illustration, the results are slightly larger if the
hypothetical were a white applicant rather than an Asian-American applicant.
40 The gains would be slightly smaller if the hypothetical applicant was white
instead of Asian American, at 73.4%, 75.5%, and 82.1% for models 4, 6, and 8
respectively.



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     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 49 of 121
    4.2. Estimates of racial/ethnic preferences in admissions for
         out-of- state applicants

      Table A.4.2 repeats the analysis of Table A.4.1 but for the out-of-state

dataset. Column 1, which only controls for demographics and year indicators,

shows all three non-white groups with positive coefficients. This is again

consistent with Table 2.1, which showed that admit rates for out-of-state

whites were lower than for other groups. Adding controls for test scores and

grades (column 2) shrinks the positive and significant relationship between

Asian American and admissions but substantially increases the relationship

between being Hispanic or African American and admissions, consistent with

test scores and grades having a positive effect on admissions and Hispanics

and African American having lower test scores and grades.

      Again considering a hypothetical non-URM applicant and changing

only that applicant’s race illustrates the magnitude of the racial boost given

to URM applicants over non-URM applicants in the admissions process. For

example, column 2 shows that an out-of-state Asian-American applicant with

a 25% chance of admission would have her chances of admission increase to

more than 74% if she were treated as a Hispanic applicant and more than

96% if she were treated as an African-American applicant.

      As with Table A.4.1, adding controls substantially increases the

estimates of racial/ethnic preferences for under-represented minorities. To get

a sense of the magnitude of racial/ethnic preferences, I repeat the analysis in

Table 4.1 using the estimates from models 4 and 6 of Table A.4.2. Results are



                                       46

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 50 of 121
shown in Table 4.2. The estimated racial/ethnic preferences are substantially

larger here than in the in-state sample.


Table 4.2: The Magnitude of Racial/Ethnic Preferences for Out-of-State
Applicants




Notes: Model 4 controls for applicant demographic and academic characteristics
and ratings. Model 6 includes the same controls as Model 4 plus high school fixed
effects. See Appendix Table A.4.2 for details.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx.


      Asian-American applicants with a 25% probability of admission would

see their probabilities increase to between 78% to 92% if they were treated as

Hispanic applicants, depending on the gender and first generation status of

the applicant as well as whether the model included high school fixed effects.



                                        47

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 51 of 121
The corresponding estimates for whites range from 71% to 93%, with lower

gains in the case where the applicant is first generation.

      The effect of being treated as an African American is even more

dramatic. Asian-American applicants who have a 25% probability of

admission based on their observed characteristics would have an over 98%

and over 99% of probability of admission based on models 4 and 6,

respectively, regardless of their gender or first generation status. The similar

probabilities for white students are almost as high—over 97% and 98% for the

two models. Indeed, Asian Americans with a 10% chance of admission would

see their probabilities rise to over 95% and 97% for models 4 and 6

respectively.

      Similar to the results from the in-state dataset, African-American and

Hispanic students do not receive as much of a bump from first generation

status as their Asian- American and white peers. Although unlike the in-

state dataset African Americans still see a bonus from being first generation,

the bonus for both African Americans and Hispanics is less than half that of

other races/ethnicities.


    4.3. Preferences for socioeconomic status and legacy

      As noted with regard to first generation status, preferences occur on

other dimensions besides race/ethnicity. The preference white students

receive from FGC status in both the in-state and out-of-state datasets is

around one-third of the effect of being African American and two-thirds that




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 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 52 of 121
of being Hispanic. Because racial preferences are higher in the out-of-state

data set, this implies that preferences for FGC are also higher in the out-

of-state data set.

      The benefits of FGC status are smaller for URM applicants than

their non-URM counterparts. As noted above, for in-state applicants,

African-American applicants receive no preference for FGC status and

Hispanic applicants receive a FGC preference of substantially diminished

magnitude. Out-of-state African-American applicants receive a preference

for FGC that is 70% lower than that received by their white counterparts.

Hispanic FGC applicants receive a boost that is half that of white FGC

applicants in both the in-state and out-of-state datasets.

      Legacy applicants also receive a preference, though the size of the

preference   differs   dramatically    between    in-state   and   out-of-state

applicants. The likelihood of admission for an in-state, non-legacy applicant

with a 25% chance of admission would increase to 32% and 36% if treated as a

legacy for models 4 and 6, respectively. But in the out-of-state dataset, legacy

preferences are almost as large as the racial preferences given to African-

American applicants. For the hypothetical out-of-state, non-legacy applicant

with a 25% chance of admission, changing the applicant to legacy status

would increase the likelihood of admission to more than 97%. This is

consistent with the results in Table 2.4, which showed that although only

3.3% of the out-of-state dataset are legacies, legacies make up almost 11% of




                                        49

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 53 of 121
out-of-state admits.41


      4.4. Average effects of racial/ethnic preferences

         The previous analysis focused on how applicants with particular

admission probabilities would see their odds change with a change in their

characteristics. In Table 4.3 I show how the average probability of admission

would change for Asian Americans and whites if they were treated as African

Americans and Hispanics. This is done for the models in columns (4) through

(6) of Tables A.4.1 and A.4.2 and, for the in-state dataset, the model in

column (8).

         The first panel of Table 4.3 shows how non-URM students would see

their admissions probabilities change if they had been treated like African

Americans and Hispanics in the admissions process. The second and third

panels show the results for Asian-American and white applicants, broken out

separately.

         Admission rates for in-state, non-URM applicants would increase by

over ten percentage points if they were treated as Hispanics in each of the

four models. The increase in admit rate would rise to more than sixteen

percentage points if non-URMs were treated as African Americans.

41 This is generally consistent with the testimony of the admissions officers, who
said “[b]y design, we ask our readers not to worry about alumni status when
reviewing an in-state student” but for out-of-state students, [i]t can make a
difference . . . there is a higher admit rate for children of alumni than the general
out-of-state admit rate overall.” Rosenberg Depo. 264:10-25; see also Farmer
Depo. 279:5-15 (“Q. Is legacy preference one of those main factors that you may
consider in the admissions process? A. It can be, primarily for non-resident
students.”).



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     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 54 of 121
Table 4.3: Predicted Admissions Probabilities for Asian Americans and Whites if
Treated as African American or Hispanic




Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx. UNC0379830.xlsx, UNC0379831.xlsx,
UNC0379832.xlsx, UNC0379833.xlsx, UNC0379838.xlsx


      Consistent with the previous results, the changes in the out-of-state




                                        51

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 55 of 121
admissions rates are much larger. If non-URM applicants were treated as

Hispanic applicants, their admission rates would rise by more than nineteen

percentage points, more than doubling their original admit rate. And if non-

URM applicants were treated as African Americans, their admission rates

would increase by over 42 percentage points, more than quadrupling their

original admit rate. Given capacity constraints, these sorts of admission rates

would not be sustainable, but this analysis serves to illustrate the extent of

racial preferences in the out-of-state pool.


       4.5. Capacity Constraints

          As discussed in the previous section, capacity constraints would not

permit a rise in non-URM admit rates to those of their URM counterparts.

There simply would not be enough slots for all the admitted students.

Accordingly, I now calculate how the admitted pool would change in the

absence of racial/ethnic or legacy preferences, taking into account capacity

constraints. To do this, I assume that the number of admits will remain the

same with and without racial/ethnic preferences. I then estimate model 4

separately by year. I then shut off both the baseline effect of race/ethnicity as

well as the interactions between female and FGC status with race/ethnicity.

For each year, the estimated intercept is then raised until the mean

probability of admission is the same with and without the preferences in

question.42


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     Results for the yearly logit models are presented in Tables A.4.5 & A.4.6.


                                                  52

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 56 of 121
      The first panel of Table 4.4 shows number of in-state admits and

share of the admitted class for each of the four main racial/ethnic groups in

the data. The second panel shows the predicted number of admits and shares

in the absence of racial preferences. Over the full six-year period, the model

predicts that the number of the Asian Americans admitted would rise by 110, a

3.3% increase. The number of white admits would increase by 5.8%, an

additional 1109 admits. On the other hand, fewer African-American and

Hispanic applicants would be admitted. African-American and Hispanic

admits would fall by 864 and 273, respectively (in terms of percentages, by

36% and 19%).




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 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 57 of 121
Table 4.4: In-State Admissions Probabilities under Counterfactual Regimes




Notes: See Table A.4.3 in the Appendix for details.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx.


      The third panel of Table 4.4 removes in-state legacy preferences. Since

legacy preferences are not very strong for the in-state sample, there is

little effect on racial/ethnic rates. The fourth panel removes both racial

preferences and legacy preferences. The results look very similar to the

second panel, though the increase in Asian American admits rises to

3.9%, illustrating that racial preferences have a much greater impact



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 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 58 of 121
than legacy preferences on admissions decisions.

      Table 4.5 repeats the analysis of Table 4.4, but for out-of-state instead

of in-state applicants. As the table illustrates, the effects for out-of-state

applicants are much larger. The model predicts that 544 more Asian

Americans would be admitted, a 20% increase. The percentage increase is even

higher for whites at 28%, resulting in 1938 more admits. The number of

African American and Hispanic admits plummet, falling by 1395 and 1079,

87% and 59% drops, respectively.

      Removing legacy preferences would increase the number of out-of-state

Asian American admits by 143, a 5.3% increase. Removing legacy preferences

would also increase the number of URM admits, but by smaller margins. The

increases for African American and Hispanic admits would be 53 and 59,

approximately 3.3% increases for each. On the other hand, the number of

white admits would fall by 280, a 4% decrease.

      Removing both sets of preferences would increase the number of out-of-

state Asian American admits by 706, a 26% increase. White admits would

increase by 25%—1731 more admits. The drop in African American and

Hispanics admits would be 1393 and 1054—87% and 58% drops, respectively.

Again, this demonstrates that racial preferences have a far greater impact

than legacy preferences on admissions decisions.




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 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 59 of 121
Table 4.5: Out-of-State Admissions Probabilities under Counterfactual Regimes




Notes: See Table A.4.4 in the Appendix for details.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx.


5. My   Estimates   of   the  Magnitude                 of    Racial/Ethnic
   Preferences Likely are Understated

      There are at least two reasons why my estimates of the magnitude of

racial/ethnic preferences are, if anything, understated. First, my estimates

show that Asian Americans and whites are stronger on observed measures

that are associated with higher admissions probabilities. Second, there is



                                       56

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 60 of 121
evidence of preferences in favor of African Americans and Hispanics in UNC’s

personal quality rating. Correcting for these preferences would result in

even larger estimates of racial/ethnic preferences.


    5.1. Selection on observables and unobservables

      One of the advantages of the UNC dataset is that the set of observed

characteristics is more robust than what is typically available. Many peer-

reviewed studies in excellent journals have been published analyzing

discrimination with data of much lower quality. But there is nonetheless the

issue, which is faced by all discrimination studies using observational data, of

whether accounting for unobserved characteristics would eliminate the

finding of a penalty against Asian Americans.

      To measure selection on observables in admissions, an index is formed

using all of the coefficients from model 4 except for race and year. This index,

when coupled with race and year, is what is used to predict the admissions

probabilities. Decoupling race and year from the index leads to a ranking of

applicants based on their observed characteristics.

      The first quadrant of Table 5.1 shows how the African-American

applicant and admit pool compare to the Asian-American applicant and

admit pool. The first column shows where the median African American’s

index lies on the Asian-American distribution. For in-state applicants, the

median African American lies between the 17th and 19th percentile. For out-

of-state applicants, the median African American is between the 9th and 14th




                                        57

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 61 of 121
percentile depending on the model. This reveals two key facts: (i) based on

observed    characteristics,   Asian-American       applicants   are   substantially

stronger than African-American applicants and (ii) this is especially true in

the out-of-state dataset. The second column of Table 5.1 shows where the

median     African-American     admit   lies   on    the   Asian-American     admit

distribution. In terms of observable characteristics, the median African-

American admit in the in-state dataset would fall between the 8th and the

10th percentile. And for the out-of-state data the median African-American

admit falls below the 1st percentile of the Asian-American distribution,

introducing massive distortions in the characteristics of the African

Americans and Asian Americans who are admitted.




                                         58

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 62 of 121
Table 5.1: Where African American and Hispanic Applicants and Admits Fall on
the Asian American and White Admissions Index Distribution




Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx, UNC0379830.xlsx, UNC0379831.xlsx,
UNC0379832.xlsx, UNC0379833.xlsx, UNC0379838.xlsx.


      Table 5.1 also shows where the median Hispanic applicant and admit

falls on the corresponding Asian-American distribution. Here, where the

median Hispanic applicant lies on the Asian American distribution is similar

between in-state and out-of-state applicants at slightly over the 30th

percentile. This again shows the positive selection of Asian Americans

relative to Hispanic Americans based on observed characteristics, though the




                                      59

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 63 of 121
discrepancies are not as large as between Asian Americans and African

Americans. As with African Americans, the median Hispanic admit is at a

lower percentile of the Asian American admit distribution than what was

seen for applicants. For the in-state dataset, the median Hispanic admit falls

at the 20th percentile of the Asian American admit distribution; for the out-

of-state dataset the median Hispanic admit falls at the 8th percentile.

      The second panel of Table 5.1 considers where African Americans and

Hispanics fall on the white distribution, both for applicants and admits. For

the in-state dataset, where African-American and Hispanic applicants and

admits fall on the white distribution mirrors what was seen for Asian

Americans. Hence the in-state sample shows whites are stronger on

observable characteristics and that this is especially true for admits. The out-

of-state sample shows the same qualitative patterns as what was seen for

Asian Americans but the disparities are slightly smaller. For example, the

median out-of-state African American admit is at the 2nd or 3rd percentile of

the corresponding white distribution but at less than the first percentile of

the Asian American admit distribution.

      Given the substantial differences in the observed characteristics

between under-represented minorities and their Asian American and white

counterparts in ways that favor the latter group, there is no reason to assume

that the unobservable characteristics to go in the opposite direction. Hence to

the extent that selection on observables is indicative of selection on




                                        60

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 64 of 121
unobservables, Asian Americans and whites are likely stronger on those

characteristics as well, implying I am underestimating African American and

Hispanic advantages.


    5.2. Ratings components and race/ethnicity

      Another potential avenue for race/ethnicity to matter is through the

profile rankings assigned by UNC admissions officers to each file. To examine

how race/ethnicity affects profile rankings, a series of ordered logits are

estimated for each of the five ratings measures. Figure 5.1 shows the various

models I estimate where the controls are quite similar to those shown in

Figure 4.1.




                                      61

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 65 of 121
Figure 5.1: Controls Used for Different Models of UNC’s Ratings


     Model 1       Race/ethnicity, female, early or regular decision, alum, first
                   generation, fee waiver, missing fee waiver, and year
                   indicators

     Model 2       Model 1 plus SAT math*; SAT verbal*; missing SAT times
                   race/ethnicity; GPA*; missing GPA times race/ethnicity;
                   percentile; percentile times non-standard rank type, missing
                   percentile times year; race/ethnicity; non-standard rank
                   type; non-standard rank type times race/ethnicity; indicators
                   for different ways of imputing SAT

                   * indicates variable was z-scored, GPA is only for those on a
                   4pt scale

     Model 3       Model 2 plus indicators for UNC for all UNC ratings besides
                   the rating that is the dependent variable
                   Model 3 plus intended college major; female interacted with
     Model 4       race/ethnicity; first-generation interacted with race/ethnicity

     Model 5       Same as model 4 but only for the set of students from high
                   schools that had a minimum number of applications and
                   admits

     Model 6       Model 5 plus high school fixed effects


     Model 7       Same as model 6 but only for the set of students with census
                   tract data who had a minimum number of applications and
                   admits

                   *Note this is only for the in-state models


         Table A.5.1 displays the results for in-state applicants. Both the

program and performance ratings show large racial differences that generally

disappear once all the controls are added.43 Like the program and



43The one exception is for Asian-American applicants, who have a positive
and significant coefficient in the program rating. That positive sign in the
program rating regression is indicative of Asian-American applicants taking


                                          62

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 66 of 121
performance ratings, the activity and essay ratings show large racial

differences which generally disappear once controls are added. The one

exception is the extracurricular activity rating for Asian-American and

Hispanic applicants, which are negative and significant even after including

all the controls. In other words, even after all controls are added, Asian-

American and Hispanic applicants tend to receive lower extracurricular activity

ratings than would be suggested by their observed characteristics.

         But the most striking result is for the personal rating. Here the

coefficient on African American starts out at effectively zero but then

becomes positive and significant as more controls are added. That the

coefficient increases in magnitude as more controls are added implies that

African-American      applicants   have   observed   characteristics   that   are

associated with lower personal quality ratings. This further implies that

African-American applicants are receiving a preference on the personal

rating, given my assumption that unobservables run in the same direction as

observables.44 This assumption is bolstered by the fact that the coefficient

increases continuously as more controls are added, suggesting that

controlling for additional factors (i.e., the unobservables) would behave




relatively more AP/IB/Honors classes. The fact that Asian-American
applicants take more AP classes negatively affects their performance rating,
which is based on unweighted grades.
44Rosenberg Depo. 250:13-251:5 (explaining that race can play a factor in the
personal quality rating); Perkins Depo. 40:3-43:10.-



                                          63

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 67 of 121
similarly.45

           The same racial differences with respect to the personal-quality rating

exist in the out-of-state dataset, except that the preference is more

pronounced. As shown in Table A.5.2, the coefficient on African American

starts out positive and significant and increases in magnitude as more

controls are added.46 The same is true for Hispanic applicants. By controlling

for    a     variable   that   incorporates   a    racial   preference,   I   am   likely

underestimating the role of race/ethnicity in admissions decisions—

particularly in the out-of-state dataset.47




45A similar pattern is also seen for Hispanic applicants. Though the differences
across specifications are not as large, the coefficient on Hispanic becomes more
and more positive as controls are added, implying a preference in favor of
Hispanics on the personal quality rating.
46 Recall that the gap between the observed characteristics of African-American
applicants and non-URM applicants is larger in the out-of-state dataset than in
the in-state dataset. This is indicative of a preference of larger magnitude for out-
of-state African-American applicants on the personal quality rating.
47 That racial preferences are more pronounced in the out-of-state dataset is
further confirmed by the essay rating. For this rating, the coefficient on African
American begins large and negative; once all controls are added, the coefficient
on African American becomes positive and significant. Again, this suggests that
racial preferences affect the scoring of the essay rating, in favor of African-
American applicants.



                                              64

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 68 of 121
 Dated:     January 12, 2018             s/ Peter S. Arcidiacono
                                         Peter S. Arcidiacono




                                  65

Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 69 of 121
                    Appendix A




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 70 of 121
Appendix A


This appendix provides more details regarding data creation and different cuts

of the summary statistics.

      1.    Sample selection


      This section describes how I identified the populations to be analyzed. To

start I removed withdrawn applications and those that were incomplete. A total

of 2,840 (4.4%) in-state applications and 7,772 (5.7%) out-of-state applications

fell into this category (Tables A.2.1 and A.2.2). The percentage of applications

removed due to this restriction was fairly consistent across the application years

I analyzed, ranging from 3.5% to 5.7% among in-state applicants and 4.5% to

6.4% percent among out-of-state applicants.

      The next restriction I applied to the pool of applicants was to remove

those that had any rating (program, performance, activity, essay, personal

quality) of zero. Less than one percent of applicants and admits fell into this

category—0.5% (0.7%) of in-state applicants (admits) and 0.3% (0.3%) of out-of-

state applicants (admits) again, with the percentage varying relatively little

across the application years.

      I then removed applications that fell into the special categories. As noted

in the main text, these special categories include applicants in special recruiting

categories where the admit rate was more than 97% and where the observations

were somewhat evenly distributed across years. More than 30 special categories




                                        65

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 71 of 121
exist, including athletes.48 I removed 4,590 (7.0%) in-state applicants and 4,273

(3.2%) out-of-state applicants with this restriction. Of these 4,577 of the in-state

applicants were admitted as were 4,249 of the out-of-state applicants. The

percentage of in-state applicants that fell into the special category ranged from

6.0% to 9.0% over the 2016 to 2021 admission years. The percentage of out-state

applicants that fell into the special category ranged from 2.7% to 3.6% over this

time period. Relatively few (153; 0.2%) in-state applicants were removed

because they were foreign applicants. The percentage of foreign applicants

among the out-of-state applicant pool was much larger, as one might expect. I

removed 17,230 foreign out-of-state applicants, representing 12.7% of the total

number of out-of-state applicants. This percentage ranged from 11.4% to 13.8%

over the 2016 to 2021 period, notably with the percentage increasing in each

year.

         Finally, I restricted previous admits from the analysis sample. This

restriction did not lead to any additional reduction in the analysis sample,

48 The special categories I dropped are defined in UNC0079247, as follows: ACGN
(“ACG (does not meet)”); ADVC (“Advanced courses”); ALAM (“Alamance”); CCAR
(“Camp Carolina”); CSTE (“C-STEP”); DIST; DNSA; DNSC; DRMA (“Drama
possible”); DRMF (“Drama final”); DTCH (“Durham Tech”); EPRG (“External
program”); HMMB (“Special Opportunities maybe”); HMNM (“Special Opportunities
invitee”); ISAR (“Innovative Scholars Access Rig”); JVB (“Basketball – JV Men”);
LKLT (“Likely letter”); MCAR (“Morehead-Cain access rights”); MUSF (“Music
final”); PGAL (“Pogue alternate”); PGAR (“Pogue access rights”); PGFN (“Pogue
finalist”); PGNM (“Pogue nominee”); PGSF (“Pogue semi-finalist”); PGWN (“Pogue
winner”); PTOS (“Priority OOS”); RBAL (“Robertson alternate”); RBFN (“Robertson
finalist”); RBSF (“Robertson semi-finalist”); RBWN (“Robertson winner”); SBDF
(“Sub-D final”); SCD1 (“Scholarship invitee day 1”); SCD2 (“Scholarship invitee day
2”); SCIE (“Science”); TRAD (“Trademark scholar”); ULFT (“Uplift”); and ATHL
(“Athlete possible”).



                                        66

     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 72 of 121
however, as the previous admits also fell into at least one of the restriction

categories described above, for both the in-state and out-of-state applicants.

      I obtained a final sample of 57,225 in-state applicants and 105,632 out-of-

state applicants after imposing these sample restrictions.


      2.    Race and ethnicity definitions


      I define race/ethnicity according to the field Ethnicity, created by UNC.

This variable aggregates fields for whether the applicant checked that they were

each of the following races/ethnicities:

      •     Caucasian (white)

      •     African American

      •     Hispanic / Latino

      •     Asian

      •     American Indian

      •     Hawaiian / Pacific Islander

      •     Missing (i.e. not populated on the Common Application)

Note that the above categories are not necessarily mutually exclusive. There

exist a set of variables {CAUCA, AFRAM, HWPAC, AMIND, ASIAN, HSPLA}

that are not mutually exclusive which indicate membership in any of the ethnic

groups. The variable “Ethnicity” aggregates the data from each of the variables

according to the following rules:

   1. If the applicant lists African American as one of his races/ethnicities, then

      the applicant is coded as African American,



                                           67

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 73 of 121
   2. else if the applicant lists Native American, then the applicant is coded as

      Native American,

   3. else if the applicant lists Hispanic, then the applicant is coded as

      Hispanic,

   4. else if the applicant lists Asian, then the applicant is coded as Asian,

   5. else if the applicant lists Hawaiian/Pacific Islander, then the applicant is

      coded as Hawaiian/Pacific Islander,

   6. else if the applicant lists Caucasian, then the applicant is coded as

      white,

   7. else if the applicant lists no race/ethnicity then the applicant is coded as

      missing.

For example, someone who lists that they are African American, Hispanic,

and Caucasian would be coded as African American; someone who listed

Hispanic and Asian would be coded as Hispanic.


      3.    Variable creation


Figures 4.1 and 5.1 document the variables included in each model. The

following text describes how each of the variables was created.

Admitted: Admitted status is equal to the variable “Admit.”

Race/ethnicity: Race/ethnicity is based on the variable “Ethnicity,” with “1

CAUCA” coded as White, “2 HWPAC” coded as Hawaii / Pacific Islander, “3

ASIAN” coded as Asian, “4 AMIND” coded as American Indian, “5 HSPLA”

coded as Hispanic, “6 AFRAM” coded as Black, and “-” or “ ” coded as missing.



                                       68

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 74 of 121
Female: Female is based on the variable “Sex” with “F” coded as one, “M” coded

as zero, and “U” coded as missing.

Early or regular decision: Early or regular decision is based on the variable

“Notifcatn” with the value “ERLY” classified as early decision and value “REG”

classified as regular decision.

Alumni: Alumni status is based on the variable “ALUM” with “ALUM” coded as

one and “-” coded as zero.

First generation college: First generation college is based on the variable “fgcl.”

Fee waiver: Fee waiver is based on the variable “PaymentType” and is equal to

one if PaymentType is equal to “WAVR” and zero if PaymentType is equal to

“CASH,” “CHKM,” “CRDT,” “MORD,” or “RETC.” Fee waiver is also set equal to

zero if PaymentType is equal to “-” or is missing.

Missing fee waiver: Missing fee waiver is based on the variable “PaymentType”

and is equal to one if PaymentType is equal to “-” or missing, and is equal to

zero otherwise.

Year indicators: Year indicators are based on the variable AdmitTerm. The

AdmitTerm values are recoded as follows: 2109=2010, 2119=2011, 2129=2012,

2139=2013, 2149=2014, 2159=2015, 2169=2016, and 2179=2017. Year is equal

to the recoded AdmitTerm value plus four (e.g., AdmitTerm = 2010 corresponds

to year 2014).

SAT math: SAT math is based on the variables “MATH,” “ACTCOMP,”

“ACTMATH,” “ACTENGL,” “ACTREAD,” “ACTSCIENCE,” and “SATTotal.” For




                                        69

  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 75 of 121
applicants with SAT scores only, SAT math is equal to the applicant’s SAT

math score (“MATH”). For applicants with both SAT scores and ACT scores—

based on variables “SATTotal” and “ACTCOMP”—SAT math is equal to the

higher of two values: 1) the SAT math score or 2) the applicant’s predicted SAT

math score based on a regression of SAT math score on the components of the

ACT, plus race and gender (defined above). For applicants with ACT scores

only, the SAT math score is equal to the predicted value from the regression.

One exception to this procedure exists for applicants in year 2021, for whom

SAT math is equal to the variable “MSS” if it is nonzero. The applicant’s SAT

math score is then converted to a z-score by demeaning the variable and

dividing by the standard deviation among all applicants.

SAT verbal: SAT verbal is based on the variables “READ,” “ACTCOMP,”

“ACTMATH,” “ACTENGL,” “ACTREAD,” “ACTSCIENCE,” and “SATTotal,” and

is constructed using a procedure analogous to the one described above for the

SAT math variable. For applicants in the year 2021, SAT verbal is equal to the

variable “ERWS” if it is nonzero. The applicant’s SAT verbal score is then

converted to a z-score by demeaning the variable and dividing by the standard

deviation among all applicants.

Missing SAT: SAT missing is equal to one if SAT score and ACT score data is

not available to construct the SAT math and SAT verbal variables described

above, and equal to zero otherwise.

SAT imputation indicators: A dichotomous SAT imputation indicator denotes if




                                      70

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 76 of 121
an applicant has ACT test score data only (and, therefore, has SAT math and

verbal scores based on the predicted value), or if an applicant has information

on both tests and the predicted value is higher than the SAT score. Two

additional dichotomous SAT imputation indicators denote: 1) whether an

applicant is in year 2021, has ACT score data only, and has “HTOTL” equal to

zero, and 2) whether an applicant is in year 2021 and has “HTOTL” not equal to

zero.

GPA: GPA is based on the variables “ExtGPA” and “GPAType.” GPA is set

equal to “ExtGPA” if “GPAType” is equal to “4PT” and if “ExtGPA” is greater

than or equal to one and less than or equal to 5.41; otherwise GPA is equal to

zero. The applicant’s GPA is then converted to a z-score by demeaning the

variable and dividing by the standard deviation among all applicants.

Missing GPA: GPA missing is equal to one if GPA, described above, is equal to

zero; otherwise GPA missing is equal to zero.

Percentile: Percentile is based on the variables “Percentile” and “ClassSize.”

Percentile is set equal to “Percentile” and then recoded to zero if ClassSize is

equal to zero, 9999, or 99999, recoded to 100 if “Percentile” is equal to 689, and

recoded to 0 if “Percentile” is equal to one.

Missing Percentile: Percentile missing is equal to one if “Percentile” is equal to

zero or one, if “ClassSize” is equal to zero, 9999, or 99999, or if “RankType” is

equal to “-”; otherwise percentile missing is equal to zero.

Non-standard rank type: Non-standard rank is based on the variable




                                         71

  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 77 of 121
“RankType” and is equal to one if “RankType” is equal to “NA,” “OTH,” or “-,”

and is equal to zero otherwise.

UNC program score: The UNC program score is based on variable “PROG.”

UNC performance score: The UNC performance score is based on variable

“PERF.”

UNC activity score: The UNC activity score is based on variable “ACTIV.”

UNC essay score: The UNC essay score is based on variable “ESSAYS.”

UNC personal quality score: The UNC personal quality score is based on

variable “PQ.”

Intended college major: Intended major is based on the variable “APDescr1.”

Majors are grouped into seven categories: Education, Social Sciences, Arts &

Humanities, Business and Economics, STEM, Other, and Undecided. The

mappings can be found in program “UNCcleaner4N.do.”

High school indicator: The high school indicator is based on the variable “ATP.”

Census tract: Census tract is constructed from the first nine digits of the

variable “13-Digit Block Group.”




                                       72

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 78 of 121
Table A.2.1: Sample Selection, In-State Applicants, 2016 - 2019




Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 79 of 121
Table A.2.1 (continued): Sample Selection, In-State Applicants, 2020 - 2021




Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 80 of 121
Table A.2.2: Sample Selection, Out-of-State Applicants, 2016 - 2019




Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 81 of 121
Table A.2.2 (continued): Sample Selection, Out-of-State Applicants, 2020 - 2021




Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 82 of 121
Table A.4.1: Logit Estimates of In-State Admissions, 2016-2021




Notes: The academic variables include SAT math and verbal scores (entered as z-
scores), percentile, rank, GPA, percentile*rank, and GPA*race, plus controls for
missing variables. The ratings variables include program score, performance,
activities, essay scores, and personal quality. The heterogeneity variables include
intended major, missing intended major, female*race, and FGC*race.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx, UNC0379830.xlsx, UNC0379831.xlsx,
UNC0379832.xlsx, UNC0379833.xlsx, UNC0379838.xlsx.



                                         77

  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 83 of 121
Table A.4.2: Logit Estimates of Out-of-State Admissions, 2016-2021




Notes: The academic variables include SAT math and verbal scores (entered as z-
scores), percentile, rank, GPA, percentile*rank, and GPA*race, plus controls for
missing variables. The ratings variables include program score, performance,
activities, essay scores, and personal quality. The heterogeneity variables include
intended major, missing intended major, female*race, and FGC*race.




                                         78

  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 84 of 121
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv,
UNC0379828.xlsx, UNC0379829.xlsx.




                                     79

 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 85 of 121
Table A.4.3: In-State Admissions Probabilities under Counterfactual Regimes




Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 86 of 121
Table A.4.4: Out-of-State Admissions Probabilities under Counterfactual Regimes




Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 87 of 121
Table A.4.5: Counterfactual Analysis Year-by-Year Logit Estimates of In-State Admissions, 2016-2021




                     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 88 of 121
Notes: Regressions also control for academic variables, ratings variables, and heterogeneity variables. The academic variables include SAT math and
verbal scores (entered as z-scores), percentile, rank, GPA, percentile*rank, and GPA*race, plus controls for missing variables. The ratings variables include
program score, performance, activities, essay scores, and personal quality. The heterogeneity variables include intended major, missing intended major,
female*race, and FGC*race.
Two 2016 admits with very low test scores (i.e., z-scores less than -2) and one admit from 2021 were excluded from the regression analysis to achieve
convergence for these years.

Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                        Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 89 of 121
Table A.4.6: Counterfactual Analysis Year-by-Year Logit Estimates of Out-of-State Admissions, 2016-2021




                     Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 90 of 121
Notes: Regressions also control for academic variables, ratings variables, and heterogeneity variables. The academic variables include SAT math and
verbal scores (entered as z-scores), percentile, rank, GPA, percentile*rank, and GPA*race, plus controls for missing variables. The ratings variables include
program score, performance, activities, essay scores, and personal quality. The heterogeneity variables include intended major, missing intended major,
female*race, and FGC*race.
One 2016 admit with very low test scores (i.e., z-scores less than -2) was excluded from the regression analysis to achieve convergence in that year.

Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                        Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 91 of 121
Table A.5.1: Ratings Ordered Logit Estimates for In-State Applicants, 2016-2021




Notes: The academic variables include SAT math and verbal scores (entered as z-scores), percentile, rank, GPA,
percentile*rank, and GPA*race, plus controls for missing variables. The ratings variables include program score,
performance, activities, essay scores, and personal quality. The heterogeneity variables include intended major,
missing intended major, female*race, and FGC*race. r2_p denotes pseudo-R-squared, a measure of model fit.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 92 of 121
Table A.5.1 (continued): Ratings Ordered Logit Estimates for In-State Applicants, 2016-2021




                 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 93 of 121
Notes: The academic variables include SAT math and verbal scores (entered as z-scores), percentile, rank, GPA,
percentile*rank, and GPA*race, plus controls for missing variables. The ratings variables include program score,
performance, activities, essay scores, and personal quality. The heterogeneity variables include intended major,
missing intended major, female*race, and FGC*race. Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv,
MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 94 of 121
Table A.5.2: Ratings Ordered Logit Estimates for Out-of-State Applicants, 2016-2021




Notes: The academic variables include SAT math and verbal scores (entered as z-scores), percentile, rank, GPA,
percentile*rank, and GPA*race, plus controls for missing variables. The ratings variables include program score,
performance, activities, essay scores, and personal quality. The heterogeneity variables include intended major,
missing intended major, female*race, and FGC*race. r2_p denotes pseudo-R-squared, a measure of model fit.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 95 of 121
Table A.5.2 (continued): Ratings Ordered Logit Estimates for Out-of-State Applicants, 2016-2021




Notes: The academic variables include SAT math and verbal scores (entered as z-scores), percentile, rank, GPA,
percentile*rank, and GPA*race, plus controls for missing variables. The ratings variables include program score,




                  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 96 of 121
performance, activities, essay scores, and personal quality. The heterogeneity variables include intended major,
missing intended major, female*race, and FGC*race. r2_p denotes pseudo-R-squared, a measure of model fit.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 97 of 121
Table A.5.3: Index Values in Standard Deviation Units for Model Specification #4, by Race




Notes: Model Specification #4 controls for applicant demographic and academic characteristics and ratings.
Sources: MainDataA.csv, MainDataB.csv, MainDataC.csv, MainDataD.csv, UNC0379828.xlsx, UNC0379829.xlsx.




                 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 98 of 121
                    Appendix B




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 99 of 121
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               933-946

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                Nos. 1-2 (August, 2004), 343-375

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Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 100 of 121
       “Affirmative Action in Higher Education: How do Admission and Financial Aid Rules
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               1477-1524

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               Esteban Aucejo, Patrick Coate, and Joe Hotz) IZA: Journal of Labor
               Economics, Vol. 3, No. 7 (September 2014)

       *“A Conversation of the Nature, Effects, and Future of Affirmative Action in Higher
              Education Admissions” (joint with Thomas Espenshade, Stacy Hawkins, and
              Richard Sander) University of Pennsylvania Journal of Constitutional Law,
              17:3 (February 2015), 683-728.

       “Exploring the Racial Divide in Education and the Labor Market through Evidence
              from Interracial Families” (joint with Andrew Beauchamp, Marie Hull, and
              Seth Sanders) Journal of Human Capital, 9:2 (Summer 2015), 198-238.

       “Affirmative Action in Undergraduate Education” (joint with Michael Lovenheim and
               Maria Zhu) Annual Review of Economics, Vol. 7 (August 2015), 487-518




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 102 of 121
       “University Differences in the Graduation of Minorities in STEM Fields: Evidence
              from California” (joint with Esteban Aucejo, and V. Joseph Hotz) American
              Economic Review, Vol. 106, No. 3 (March 2016), 525-562

       “Affirmative Action and the Quality-Fit Tradeoff” (joint with Michael Lovenheim)
               Journal of Economic Literature, 54(1) (March 2016), 3-51

       “Terms of Endearment: An Equilibrium Model of Sex and Matching” (joint with
             Andrew Beauchamp and Marjorie McElroy) Quantitative Economics, 7(1)
             (March 2016), 117-156

       “The Analysis of Field Choice in College and Graduate School: Determinants and
             Wage Effects” (joint with Joe Altonji and Arnaud Maurel) Handbook of the
             Economics of Education Vol. 5, Chapter 7 (May 2016)

       “Estimation of Dynamic Discrete Choice Models in Continuous Time with an
              Application to Retail Competition” (joint with Pat Bayer, Jason Blevins, and
              Paul Ellickson) Review of Economic Studies, 83(3) (July 2016), 889-931

       “Productivity Spillovers in Team Production: Evidence from Professional Basketball”
              (joint with Josh Kinsler and Joe Price) Journal of Labor Economics, 35(1)
              (January 2017), 191-225

 Unpublished Papers

       “Identifying Dynamic Discrete Choice Models off Short Panels” (joint with Bob Miller)
               revise and resubmit Journal of Econometrics

       “College Attrition and the Dynamics of Information Revelation” (joint with Esteban
              Aucejo, Arnaud Maurel, and Tyler Ransom) revise and resubmit Journal of
              Political Economy

       “Conditional Choice Probability Estimation of Continuous Time Job Search Models”
              (joint with Arnaud Maurel and Ekaterina Roshchina)

       “Recovering Ex-Ante Returns and Preferences for Occupations using Subjective
             Expectations Data” (joint with Joe Hotz, Arnaud Maurel, and Teresa Romano)
             revise and resubmit Journal of Political Economy

       “Nonstationary Dynamic Models with Finite Dependence” (joint with Bob Miller)
              second revise and resubmit Quantitative Economics

       “Equilibrium Grade Inflation with Implications for Female Interest in STEM Majors”
               (joint with Tom Ahn, Amy Hopson, and James Thomas)

       “The Competitive Effects of Entry: Evidence from Supercenter Expansion” (joint with
             Paul Ellickson, Carl Mela, and John Singleton)


 Awards/Grants




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 103 of 121
       Searle Freedom Trust “Affirmative Action and Mismatch”, 2012-2013, $54,141

       NSF “Large State Space Issues in Dynamic Models” (with Pat Bayer and Federico
             Bugni), 2011-2013, $391,114

       NSF “CCP Estimation of Dynamic Discrete Choice Models with Unobserved
             Heterogeneity” (with Paul Ellickson and Robert Miller), 2007-2009, $305,423

       NICHD “A Dynamic Model of Teen Sex, Abortion, and Childbearing” (with Ahmed
            Khwaja) 2004-05. $154,000

       Smith Richardson Foundation “Does the River Spill Over? Race and Peer Effects in
              the College & Beyond” (with Jacob Vigdor) 2003. $50,000

       Sloan Dissertation Fellowship 1997-98.

 Graduate Student Advising (first time on the market in parentheses)

       Chair or co-chair:

       Thomas Ahn           2004 (University of Kentucky)
       Andrew Hussey        2006 (University of Memphis)
       Natalie Goodpaster   2006 (Charles Rivers)
       Josh Kinsler         2007 (University of Rochester)
       Kata Mihaly          2008 (RAND)
       Anil Nathan          2008 (Holy Cross)
       Andrew Beauchamp     2009 (Boston College)
       Jon James            2011 (Federal Reserve Bank of Cleveland)
       Esteban Aucejo       2012 (London School of Economics)
       Teresa Romano        2014 (Goucher College)
       Marie Hull           2015 (UNC Greensboro)
       Tyler Ransom         2015 (Postdoc at Social Science Research Institute, Duke)
       Brian Clark          2016 (Federal Trade Commission)
       James Thomas         2016 (Postdoc at Yale)
       Xiaomin Fu           2017 (Amazon)
       John Singleton       2017 (University of Rochester)

       Committee Member:

       Thomas Anderson      2001 (Bureau of Economic Analysis)
       Bethany Peters       2002 (Rhodes)
       Justin Trogdon       2004 (University of Adelaide)
       Bentley Coffey       2004 (Clemson University)
       Derek Brown          2004 (Research Triangle Institute)
       Lijing Ouyang        2005 (Postdoc at Centers for Disease Control and Prevention)
       Omari Swinton        2007 (Howard)
       Kelly Bishop         2008 (Olin School of Business)
       Alvin Murphy         2008 (Olin School of Business)
       Nicole Coomer†       2008 (Workers Compensation Research Institute)
       Yang Wang            2009 (Lafayette College)




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 104 of 121
       Aurel Hizmo         2011 (NYU Stern)
       Ed Kung             2012 (UCLA)
       Kyle Mangum         2012 (Georgia State)
       Dan LaFave          2012 (Colby College)
       Kristen Johnson     2012 (Research Manager, Harvard Business School)
       Songman Kang        2012 (Postdoc at Sanford School)
       Jason Roos*         2012 (Rotterdam School of Management)
       Hyunseob Kim*       2012 (Cornell Business School)
       Patrick Coate       2013 (Postdoc at University of Michigan)
       Mike Dalton         2013 (Bureau of Labor Statistics)
       Peter Landry        2013 (Postdoc at CalTech)
       Kalina Staub        2013 (Lecturer at University of Toronto)
       Vladislav Sanchev   2013 (Postdoc at Duke)
       Gabriela Farfan     2014 (World Bank)
       Chung-Ying Lee      2014 (National Taiwan University)
       Lala Ma             2014 (Kentucky)
       Deborah Rho         2014 (University of St. Thomas)
       Yair Taylor         2014 (Department of Justice)
       Gabriela Farfan     2014 (World Bank)
       Weiwei Hu           2015 (Hong Kong University of Science and Technology,
                                visiting professor)
       Brett Matsumoto**   2015 (Bureau of Labor Statistics)
       Joe Mazur           2015 (Purdue)
       Jared Ashworth      2015 (Pepperdine)
       Ekaterina Roshchina 2016 (Postdoc at University of Washington)
       Matt Forsstrom**    2017 (Wheaton College)
       Alex Robinson       2017 (Analysis Group)
                ‡
       Ying Shi            2017 (Postdoc at Stanford Ed)


       (*Fuqua Business student, **UNC student, †NC State, ‡Sanford Public Policy)


 Service

       Executive committee for the department (1999, 2006-2009), Micro qualifying
       committee (2000, 2005), Graduate admissions committee (2004, 2006), Chair of
       faculty computing committee (2004-2006), Micro recruiting committee (2005),
       Undergraduate reform committee (2005), SSRI Faculty Fellows (2006-2007),
       Executive Committee of the Graduate School (2006-2007), Director of Graduate
       Studies (2006-2009), Chair of recruiting committee (2006, 2010), Local Organizing
       Committee for the North American Meetings of the Econometric Society (2007),
       Academic Standards committee (2009), Graduate admissions director (2011-2013),
       Dean of graduate school search committee (2012), Organizer for Cowles conference
       on Structural Microeconomics (2013), Program Committee for World Congress of the
       Econometric Society (2015), Program Committee for North American Summer
       Meetings (2016), Program Committee for International Association for Applied
       Econometrics (2016, 2017), Senior Recruiting (2016), Program Committee for
       Society of Labor Economists (2017)




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 105 of 121
 Editorial Responsibilities

        Co-Editor, Quantitative Economics, (July 2016-present)
        Foreign Editor, Review of Economic Studies (October 2011-present)
        Associate Editor, Journal of Applied Econometrics, (January 2007-present)
        Associate Editor, AEJ: Applied Economics, (May 2009-May 2012)
        Editor, Journal of Labor Economics, (July 2008-July 2013)
        Co-Editor, Economic Inquiry, (December 2007-January 2011)

 Presentations (since 2010)

 2017: (scheduled) Wisconsin, Toronto Education Conference, Central European
       University. Rees lecture at Society of Labor Economists Conference

 2016: Wisconsin, Penn State Economics of Education Conference, BGSE Summer
       Form Workshop-Structural Micro, keynote speaker for the International
       Association for Applied Econometrics, Banff Empirical Microeconomics
       Workshop, NBER Education, Purdue

 2015: Minnesota, Brown, Chicago, University of British Columbia, IZA, Mannheim,
       UCL, London School of Economics, keynote speaker for International
       Conference of Applied Economics of Education, Carnegie Mellon, Georgetown,
       Columbia, Universitat Autònoma de Barcelona

 2014: Penn Law Symposium on Educational Equality, Austin Institute, Tulane, Michigan
       Journal of Law Reform Symposium on Affirmative Action, Inter-American
       Development Bank, Johns Hopkins, AERA Annual Meeting, Tennessee, Chicago
       Booth, Cowles Conference, University of Pennsylvania, Penn State/Cornell
       Econometrics Conference, keynote speaker International Conference on “The
       Economics of Study Choice”, HCEO Conference on Identity and Inequality,
       Federal Reserve Bank of New York, Arizona State

 2013: Colorado, UNLV, Sciences Po, Toulouse, Chicago, NBER Education, Iowa State,
       Stanford, Washington University, Yale

 2012: Stanford Ed, Conference for John Kennan, Cowles Conference, CEME
       Conference on the Econometrics of Dynamic Games, Brookings Conference on
       Mismatch in Higher Education, NYU, London School of Economics

 2011: Princeton, UNC, UNC-Greensboro, BYU, Wisconsin, Johns Hopkins, Yale,
       University of Nevada-Reno, UC Davis, Harvard, Cornell, Institute for Research
       on Poverty

 2010: UC Santa Barbara, UCLA, Virginia, Paris School of Economics, Harris School, Washington
       University, Pittsburgh, Michigan, Higher Education Conference at Western Ontario




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 106 of 121
                    Appendix C




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 107 of 121
Appendix C: List of Documents Relied Upon In Forming Opinions

In forming my opinions, I relied upon the following documents, as well as all
documents cited in my report.

Documents & Files Produced by UNC

UNC0000001                 UNC0000453                  UNC0001755
UNC0000002                 UNC0000480                  UNC0001792
UNC0000003                 UNC0000517                  UNC0001824
UNC0000004                 UNC0000544                  UNC0001853
UNC0000005                 UNC0000577                  UNC0001895
UNC0000006                 UNC0000604                  UNC0001920
UNC0000007                 UNC0000662                  UNC0001956
UNC0000008                 UNC0000694                  UNC0001992
UNC0000009                 UNC0000738                  UNC0002023
UNC0000010                 UNC0000789                  UNC0002052
UNC0000017                 UNC0000849                  UNC0002087
UNC0000019                 UNC0000891                  UNC0002114
UNC0000022                 UNC0000920                  UNC0002148
UNC0000023                 UNC0000950                  UNC0002175
UNC0000029                 UNC0000990                  UNC0002208
UNC0000031                 UNC0001022                  UNC0002236
UNC0000032                 UNC0001055                  UNC0002269
UNC0000033                 UNC0001092                  UNC0002293
UNC0000034                 UNC0001126                  UNC0002321
UNC0000035                 UNC0001162                  UNC0002351
UNC0000036                 UNC0001193                  UNC0002391
UNC0000039                 UNC0001230                  UNC0002415
UNC0000040                 UNC0001256                  UNC0002443
UNC0000041                 UNC0001289                  UNC0002470
UNC0000042                 UNC0001314                  UNC0002515
UNC0000068                 UNC0001342                  UNC0002545
UNC0000089                 UNC0001368                  UNC0002583
UNC0000121                 UNC0001396                  UNC0002625
UNC0000155                 UNC0001442                  UNC0002649
UNC0000188                 UNC0001482                  UNC0002667
UNC0000221                 UNC0001536                  UNC0002692
UNC0000240                 UNC0001560                  UNC0002738
UNC0000280                 UNC0001595                  UNC0002766
UNC0000328                 UNC0001628                  UNC0002794
UNC0000354                 UNC0001667                  UNC0002833
UNC0000398                 UNC0001697                  UNC0002861
UNC0000427                 UNC0001720                  UNC0002892




 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 108 of 121
UNC0002925               UNC0004478                  UNC0006113
UNC0002955               UNC0004512                  UNC0006141
UNC0003006               UNC0004540                  UNC0006194
UNC0003038               UNC0004568                  UNC0006227
UNC0003065               UNC0004606                  UNC0006264
UNC0003089               UNC0004630                  UNC0006300
UNC0003120               UNC0004705                  UNC0006340
UNC0003154               UNC0004748                  UNC0006372
UNC0003189               UNC0004777                  UNC0006403
UNC0003221               UNC0004805                  UNC0006437
UNC0003265               UNC0004830                  UNC0006466
UNC0003300               UNC0004862                  UNC0006487
UNC0003340               UNC0004899                  UNC0006517
UNC0003362               UNC0004939                  UNC0006541
UNC0003399               UNC0004971                  UNC0006569
UNC0003428               UNC0004991                  UNC0006597
UNC0003456               UNC0005050                  UNC0006625
UNC0003494               UNC0005076                  UNC0006650
UNC0003524               UNC0005105                  UNC0006674
UNC0003557               UNC0005145                  UNC0006709
UNC0003593               UNC0005178                  UNC0006747
UNC0003631               UNC0005206                  UNC0006783
UNC0003664               UNC0005241                  UNC0006812
UNC0003693               UNC0005265                  UNC0006840
UNC0003721               UNC0005301                  UNC0006867
UNC0003754               UNC0005345                  UNC0006900
UNC0003786               UNC0005374                  UNC0006929
UNC0003820               UNC0005407                  UNC0006966
UNC0003853               UNC0005433                  UNC0006994
UNC0003878               UNC0005476                  UNC0007034
UNC0003909               UNC0005513                  UNC0007076
UNC0003943               UNC0005567                  UNC0007104
UNC0003983               UNC0005600                  UNC0007137
UNC0004004               UNC0005633                  UNC0007163
UNC0004038               UNC0005682                  UNC0007216
UNC0004066               UNC0005708                  UNC0007249
UNC0004111               UNC0005754                  UNC0007299
UNC0004147               UNC0005790                  UNC0007325
UNC0004177               UNC0005824                  UNC0007352
UNC0004218               UNC0005887                  UNC0007387
UNC0004253               UNC0005954                  UNC0007422
UNC0004298               UNC0005988                  UNC0007447
UNC0004404               UNC0006020                  UNC0007493
UNC0004443               UNC0006074                  UNC0007520




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 109 of 121
UNC0007557               UNC0008973                  UNC0010234
UNC0007602               UNC0009023                  UNC0010253
UNC0007640               UNC0009051                  UNC0010292
UNC0007664               UNC0009086                  UNC0010312
UNC0007703               UNC0009114                  UNC0010335
UNC0007735               UNC0009140                  UNC0010364
UNC0007764               UNC0009165                  UNC0010387
UNC0007791               UNC0009209                  UNC0010419
UNC0007825               UNC0009232                  UNC0010446
UNC0007854               UNC0009279                  UNC0010470
UNC0007880               UNC0009317                  UNC0010492
UNC0007924               UNC0009349                  UNC0010516
UNC0007946               UNC0009386                  UNC0010544
UNC0007984               UNC0009417                  UNC0010568
UNC0008014               UNC0009456                  UNC0010592
UNC0008044               UNC0009497                  UNC0010640
UNC0008068               UNC0009518                  UNC0010659
UNC0008112               UNC0009554                  UNC0010688
UNC0008159               UNC0009576                  UNC0010721
UNC0008201               UNC0009601                  UNC0010755
UNC0008233               UNC0009623                  UNC0010791
UNC0008258               UNC0009644                  UNC0010834
UNC0008280               UNC0009673                  UNC0010870
UNC0008302               UNC0009706                  UNC0010895
UNC0008348               UNC0009730                  UNC0010924
UNC0008386               UNC0009756                  UNC0010946
UNC0008430               UNC0009777                  UNC0010979
UNC0008471               UNC0009800                  UNC0011010
UNC0008505               UNC0009822                  UNC0011048
UNC0008547               UNC0009848                  UNC0011076
UNC0008576               UNC0009867                  UNC0011098
UNC0008596               UNC0009893                  UNC0011141
UNC0008623               UNC0009917                  UNC0011165
UNC0008650               UNC0009961                  UNC0011199
UNC0008685               UNC0009988                  UNC0011238
UNC0008733               UNC0010012                  UNC0011286
UNC0008753               UNC0010035                  UNC0011304
UNC0008780               UNC0010058                  UNC0011333
UNC0008801               UNC0010086                  UNC0011360
UNC0008829               UNC0010112                  UNC0011390
UNC0008854               UNC0010132                  UNC0011457
UNC0008882               UNC0010163                  UNC0011494
UNC0008916               UNC0010187                  UNC0011512
UNC0008947               UNC0010207                  UNC0011543




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 110 of 121
UNC0011592               UNC0012977                  UNC0014131
UNC0011622               UNC0013004                  UNC0014149
UNC0011656               UNC0013043                  UNC0014167
UNC0011681               UNC0013082                  UNC0014187
UNC0011706               UNC0013102                  UNC0014209
UNC0011726               UNC0013135                  UNC0014249
UNC0011744               UNC0013156                  UNC0014268
UNC0011771               UNC0013177                  UNC0014294
UNC0011808               UNC0013200                  UNC0014323
UNC0011836               UNC0013225                  UNC0014354
UNC0011859               UNC0013252                  UNC0014378
UNC0011906               UNC0013273                  UNC0014402
UNC0011929               UNC0013298                  UNC0014426
UNC0011948               UNC0013324                  UNC0014469
UNC0011972               UNC0013359                  UNC0014493
UNC0011987               UNC0013378                  UNC0014519
UNC0012021               UNC0013404                  UNC0014546
UNC0012061               UNC0013455                  UNC0014570
UNC0012087               UNC0013481                  UNC0014592
UNC0012109               UNC0013515                  UNC0014633
UNC0012131               UNC0013535                  UNC0014634
UNC0012157               UNC0013548                  UNC0014635
UNC0012190               UNC0013583                  UNC0014671
UNC0012212               UNC0013601                  UNC0014707
UNC0012243               UNC0013628                  UNC0014730
UNC0012268               UNC0013652                  UNC0014756
UNC0012298               UNC0013680                  UNC0014785
UNC0012326               UNC0013705                  UNC0014816
UNC0012349               UNC0013739                  UNC0014839
UNC0012372               UNC0013762                  UNC0014882
UNC0012401               UNC0013776                  UNC0014903
UNC0012467               UNC0013819                  UNC0014950
UNC0012503               UNC0013853                  UNC0014975
UNC0012546               UNC0013879                  UNC0015000
UNC0012581               UNC0013900                  UNC0015022
UNC0012613               UNC0013916                  UNC0015047
UNC0012651               UNC0013940                  UNC0015068
UNC0012696               UNC0013964                  UNC0015093
UNC0012729               UNC0013986                  UNC0015133
UNC0012767               UNC0014010                  UNC0015158
UNC0012808               UNC0014032                  UNC0015184
UNC0012859               UNC0014053                  UNC0015211
UNC0012889               UNC0014075                  UNC0015281
UNC0012926               UNC0014107                  UNC0015312




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 111 of 121
UNC0015331               UNC0016493                  UNC0017716
UNC0015348               UNC0016528                  UNC0017749
UNC0015373               UNC0016568                  UNC0017773
UNC0015394               UNC0016589                  UNC0017803
UNC0015428               UNC0016610                  UNC0017829
UNC0015454               UNC0016633                  UNC0017854
UNC0015476               UNC0016670                  UNC0017879
UNC0015494               UNC0016716                  UNC0017909
UNC0015529               UNC0016745                  UNC0017932
UNC0015559               UNC0016766                  UNC0017954
UNC0015596               UNC0016801                  UNC0017975
UNC0015615               UNC0016835                  UNC0018001
UNC0015645               UNC0016864                  UNC0018028
UNC0015668               UNC0016888                  UNC0018054
UNC0015700               UNC0016923                  UNC0018077
UNC0015723               UNC0016960                  UNC0018103
UNC0015743               UNC0016977                  UNC0018132
UNC0015766               UNC0016998                  UNC0018160
UNC0015792               UNC0017024                  UNC0018185
UNC0015823               UNC0017049                  UNC0018218
UNC0015850               UNC0017070                  UNC0018245
UNC0015883               UNC0017094                  UNC0018267
UNC0015912               UNC0017116                  UNC0018286
UNC0015935               UNC0017152                  UNC0018311
UNC0015980               UNC0017191                  UNC0018342
UNC0016012               UNC0017217                  UNC0018365
UNC0016039               UNC0017239                  UNC0018391
UNC0016063               UNC0017269                  UNC0018415
UNC0016083               UNC0017294                  UNC0018444
UNC0016110               UNC0017318                  UNC0018468
UNC0016145               UNC0017341                  UNC0018503
UNC0016172               UNC0017357                  UNC0018530
UNC0016196               UNC0017383                  UNC0018556
UNC0016218               UNC0017430                  UNC0018590
UNC0016241               UNC0017450                  UNC0018646
UNC0016265               UNC0017472                  UNC0018678
UNC0016291               UNC0017508                  UNC0018704
UNC0016314               UNC0017546                  UNC0018731
UNC0016335               UNC0017577                  UNC0018758
UNC0016360               UNC0017596                  UNC0018778
UNC0016384               UNC0017617                  UNC0018801
UNC0016404               UNC0017635                  UNC0018821
UNC0016430               UNC0017657                  UNC0018844
UNC0016469               UNC0017679                  UNC0018870




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 112 of 121
UNC0018896               UNC0020119                  UNC0021353
UNC0018930               UNC0020147                  UNC0021388
UNC0018979               UNC0020169                  UNC0021420
UNC0019000               UNC0020196                  UNC0021443
UNC0019037               UNC0020218                  UNC0021479
UNC0019064               UNC0020244                  UNC0021510
UNC0019098               UNC0020265                  UNC0021532
UNC0019122               UNC0020303                  UNC0021565
UNC0019148               UNC0020331                  UNC0021586
UNC0019179               UNC0020354                  UNC0021616
UNC0019201               UNC0020383                  UNC0021640
UNC0019230               UNC0020412                  UNC0021673
UNC0019267               UNC0020435                  UNC0021695
UNC0019300               UNC0020457                  UNC0021724
UNC0019324               UNC0020480                  UNC0021749
UNC0019360               UNC0020509                  UNC0021769
UNC0019387               UNC0020535                  UNC0021788
UNC0019409               UNC0020559                  UNC0021811
UNC0019438               UNC0020582                  UNC0021837
UNC0019459               UNC0020642                  UNC0021873
UNC0019492               UNC0020664                  UNC0021897
UNC0019514               UNC0020694                  UNC0021929
UNC0019538               UNC0020713                  UNC0021953
UNC0019560               UNC0020742                  UNC0021984
UNC0019589               UNC0020767                  UNC0022004
UNC0019612               UNC0020789                  UNC0022035
UNC0019635               UNC0020813                  UNC0022059
UNC0019657               UNC0020842                  UNC0022084
UNC0019683               UNC0020865                  UNC0022110
UNC0019703               UNC0020902                  UNC0022134
UNC0019726               UNC0020932                  UNC0022160
UNC0019753               UNC0020951                  UNC0022192
UNC0019780               UNC0020977                  UNC0022215
UNC0019820               UNC0021000                  UNC0022239
UNC0019843               UNC0021025                  UNC0022269
UNC0019870               UNC0021099                  UNC0022299
UNC0019906               UNC0021126                  UNC0022323
UNC0019927               UNC0021150                  UNC0022350
UNC0019955               UNC0021175                  UNC0022374
UNC0019991               UNC0021200                  UNC0022398
UNC0020006               UNC0021247                  UNC0022421
UNC0020037               UNC0021280                  UNC0022457
UNC0020067               UNC0021304                  UNC0022479
UNC0020100               UNC0021332                  UNC0022509




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 113 of 121
UNC0022540               UNC0023663                  UNC0024844
UNC0022562               UNC0023692                  UNC0024869
UNC0022588               UNC0023713                  UNC0024891
UNC0022609               UNC0023753                  UNC0024913
UNC0022641               UNC0023789                  UNC0024939
UNC0022663               UNC0023818                  UNC0024960
UNC0022688               UNC0023841                  UNC0024985
UNC0022706               UNC0023863                  UNC0025006
UNC0022749               UNC0023882                  UNC0025030
UNC0022776               UNC0023915                  UNC0025059
UNC0022798               UNC0023938                  UNC0025087
UNC0022822               UNC0023994                  UNC0025113
UNC0022852               UNC0024017                  UNC0025145
UNC0022882               UNC0024069                  UNC0025189
UNC0022932               UNC0024095                  UNC0025214
UNC0022954               UNC0024131                  UNC0025240
UNC0022981               UNC0024153                  UNC0025271
UNC0023005               UNC0024186                  UNC0025301
UNC0023024               UNC0024208                  UNC0025332
UNC0023051               UNC0024238                  UNC0025361
UNC0023085               UNC0024256                  UNC0025387
UNC0023110               UNC0024278                  UNC0025414
UNC0023138               UNC0024306                  UNC0025439
UNC0023159               UNC0024332                  UNC0025462
UNC0023183               UNC0024358                  UNC0025485
UNC0023209               UNC0024381                  UNC0025510
UNC0023226               UNC0024412                  UNC0025530
UNC0023255               UNC0024428                  UNC0025553
UNC0023280               UNC0024452                  UNC0025575
UNC0023303               UNC0024474                  UNC0025605
UNC0023326               UNC0024496                  UNC0025627
UNC0023351               UNC0024519                  UNC0025649
UNC0023374               UNC0024546                  UNC0025691
UNC0023401               UNC0024573                  UNC0025714
UNC0023422               UNC0024596                  UNC0025741
UNC0023445               UNC0024628                  UNC0025763
UNC0023463               UNC0024652                  UNC0025794
UNC0023486               UNC0024673                  UNC0025835
UNC0023514               UNC0024697                  UNC0025858
UNC0023540               UNC0024718                  UNC0025877
UNC0023559               UNC0024741                  UNC0025904
UNC0023592               UNC0024774                  UNC0025923
UNC0023614               UNC0024798                  UNC0025967
UNC0023638               UNC0024819                  UNC0025995




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 114 of 121
UNC0026025               UNC0027162                  UNC0028280
UNC0026047               UNC0027186                  UNC0028312
UNC0026084               UNC0027210                  UNC0028343
UNC0026111               UNC0027231                  UNC0028369
UNC0026134               UNC0027256                  UNC0028397
UNC0026152               UNC0027276                  UNC0028421
UNC0026183               UNC0027292                  UNC0028488
UNC0026205               UNC0027323                  UNC0028515
UNC0026231               UNC0027351                  UNC0028540
UNC0026257               UNC0027366                  UNC0028563
UNC0026281               UNC0027388                  UNC0028587
UNC0026304               UNC0027411                  UNC0028609
UNC0026327               UNC0027453                  UNC0028630
UNC0026351               UNC0027480                  UNC0028656
UNC0026383               UNC0027501                  UNC0028673
UNC0026404               UNC0027521                  UNC0028698
UNC0026427               UNC0027546                  UNC0028727
UNC0026448               UNC0027574                  UNC0028751
UNC0026502               UNC0027595                  UNC0028851
UNC0026519               UNC0027623                  UNC0028884
UNC0026551               UNC0027653                  UNC0028935
UNC0026574               UNC0027671                  UNC0028967
UNC0026594               UNC0027690                  UNC0028988
UNC0026620               UNC0027715                  UNC0029025
UNC0026658               UNC0027734                  UNC0029052
UNC0026683               UNC0027762                  UNC0029085
UNC0026709               UNC0027789                  UNC0029110
UNC0026725               UNC0027810                  UNC0029140
UNC0026751               UNC0027831                  UNC0029164
UNC0026773               UNC0027858                  UNC0029186
UNC0026807               UNC0027879                  UNC0029209
UNC0026827               UNC0027901                  UNC0029236
UNC0026852               UNC0027927                  UNC0029260
UNC0026871               UNC0027950                  UNC0029300
UNC0026894               UNC0027977                  UNC0029325
UNC0026919               UNC0027998                  UNC0029350
UNC0026939               UNC0028023                  UNC0029389
UNC0026975               UNC0028083                  UNC0029437
UNC0027013               UNC0028105                  UNC0029460
UNC0027040               UNC0028138                  UNC0029486
UNC0027064               UNC0028162                  UNC0029519
UNC0027086               UNC0028184                  UNC0029547
UNC0027110               UNC0028220                  UNC0029584
UNC0027136               UNC0028254                  UNC0029610




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 115 of 121
UNC0029638               UNC0030924                  UNC0032219
UNC0029672               UNC0030945                  UNC0032240
UNC0029700               UNC0030968                  UNC0032268
UNC0029735               UNC0030999                  UNC0032293
UNC0029756               UNC0031021                  UNC0032314
UNC0029778               UNC0031057                  UNC0032341
UNC0029802               UNC0031077                  UNC0032365
UNC0029842               UNC0031103                  UNC0032389
UNC0029872               UNC0031132                  UNC0032409
UNC0029909               UNC0031154                  UNC0032444
UNC0029936               UNC0031189                  UNC0032472
UNC0029972               UNC0031219                  UNC0032497
UNC0029989               UNC0031246                  UNC0032529
UNC0030014               UNC0031270                  UNC0032551
UNC0030042               UNC0031312                  UNC0032584
UNC0030068               UNC0031350                  UNC0032614
UNC0030095               UNC0031390                  UNC0032649
UNC0030128               UNC0031421                  UNC0032675
UNC0030154               UNC0031477                  UNC0032699
UNC0030182               UNC0031510                  UNC0032722
UNC0030209               UNC0031536                  UNC0032746
UNC0030235               UNC0031564                  UNC0032773
UNC0030261               UNC0031598                  UNC0032807
UNC0030300               UNC0031628                  UNC0032829
UNC0030334               UNC0031656                  UNC0032847
UNC0030359               UNC0031682                  UNC0032870
UNC0030392               UNC0031701                  UNC0032898
UNC0030415               UNC0031725                  UNC0032926
UNC0030445               UNC0031765                  UNC0032953
UNC0030476               UNC0031799                  UNC0032985
UNC0030511               UNC0031820                  UNC0033008
UNC0030529               UNC0031858                  UNC0033032
UNC0030589               UNC0031884                  UNC0033051
UNC0030609               UNC0031907                  UNC0033075
UNC0030638               UNC0031928                  UNC0033122
UNC0030665               UNC0031949                  UNC0033142
UNC0030694               UNC0031989                  UNC0033168
UNC0030720               UNC0032015                  UNC0033192
UNC0030745               UNC0032048                  UNC0033220
UNC0030774               UNC0032068                  UNC0033244
UNC0030804               UNC0032104                  UNC0033275
UNC0030831               UNC0032138                  UNC0033301
UNC0030868               UNC0032160                  UNC0033330
UNC0030897               UNC0032189                  UNC0033353




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 116 of 121
UNC0033382               UNC0034516                  UNC0035716
UNC0033405               UNC0034548                  UNC0035737
UNC0033435               UNC0034568                  UNC0035767
UNC0033464               UNC0034591                  UNC0035790
UNC0033489               UNC0034624                  UNC0035817
UNC0033513               UNC0034648                  UNC0035849
UNC0033553               UNC0034669                  UNC0035891
UNC0033580               UNC0034692                  UNC0035917
UNC0033604               UNC0034721                  UNC0035948
UNC0033623               UNC0034750                  UNC0035977
UNC0033646               UNC0034770                  UNC0036000
UNC0033672               UNC0034791                  UNC0036030
UNC0033699               UNC0034823                  UNC0036062
UNC0033732               UNC0034848                  UNC0036085
UNC0033756               UNC0034878                  UNC0036111
UNC0033778               UNC0034902                  UNC0036154
UNC0033810               UNC0034942                  UNC0036179
UNC0033833               UNC0034976                  UNC0036202
UNC0033855               UNC0034995                  UNC0036241
UNC0033880               UNC0035025                  UNC0036278
UNC0033907               UNC0035058                  UNC0036307
UNC0033932               UNC0035085                  UNC0036328
UNC0033952               UNC0035108                  UNC0045802
UNC0033977               UNC0035136                  UNC0053553
UNC0034004               UNC0035159                  UNC0057277
UNC0034027               UNC0035196                  UNC0061555
UNC0034055               UNC0035231                  UNC0062917
UNC0034085               UNC0035254                  UNC0064254
UNC0034118               UNC0035281                  UNC0064255
UNC0034140               UNC0035349                  UNC0064256
UNC0034163               UNC0035370                  UNC0064257
UNC0034186               UNC0035397                  UNC0064258
UNC0034213               UNC0035419                  UNC0064259
UNC0034239               UNC0035450                  UNC0064266
UNC0034258               UNC0035471                  UNC0064267
UNC0034284               UNC0035498                  UNC0064268
UNC0034303               UNC0035525                  UNC0064281
UNC0034343               UNC0035550                  UNC0064282
UNC0034368               UNC0035585                  UNC0064283
UNC0034386               UNC0035608                  UNC0064288
UNC0034412               UNC0035630                  UNC0064289
UNC0034436               UNC0035651                  UNC0064291
UNC0034464               UNC0035672                  UNC0064292
UNC0034487               UNC0035691                  UNC0064293




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 117 of 121
UNC0064294                  UNC0064323                UNC0379832
UNC0064295                  UNC0064324                UNC0379833
UNC0064296                  UNC0064325                UNC0379834
UNC0064313                  UNC0064338                UNC0379835
UNC0064314                  UNC0071577                UNC0379836
UNC0064315                  UNC0349041                UNC0379837
UNC0064316                  UNC0349251                UNC0379838
UNC0064317                  UNC0379826
UNC0064318                  UNC0379827
UNC0064319                  UNC0379828
UNC0064320                  UNC0379829
UNC0064321                  UNC0379830
UNC0064322                  UNC0379831

Depositions (w/ Exhibits)

Jennifer Kretchmar
Stephen Farmer
Jared Rosenberg
Barbara Polk
Ni-Eric Perkins

Third-Party Files
All NCPDI/NCERDC data produced to SFFA




 Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 118 of 121
                    Appendix D




Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 119 of 121
1      Appendix D

1.1     Modeling binary outcomes

I model binary outcomes (e.g. admission/rejection) by making use of a latent index πi , where i indexes
individuals and where
                                                 πi = Xi γ + εi                                              (1)

      The university accepts individual i if πi > 0. In the above equation, Xi represents attributes about
candidate i that I observe in the data. One of the tasks of the econometrician is to estimate γ which provides
a relationship between the observed characteristics and admissions. There are many factors however that
influence the admissions decision that are not observed by the econometrician. εi represents these unobserved
attributes. If I make an assumption about how the error term εi is distributed, I can construct for each
candidate his or her probability of admission. A standard assumption is that the unobservables follow a
logistic distribution and are independent from the observed characteristics. In this case, the probability of
admission is given by:
                                                              exp(Xi γ)
                                         Pr (Yi = 1) =                                                       (2)
                                                            exp(Xi γ) + 1
where Yi = 1 if the individual was admitted and 0 otherwise. Specifying the probabilities in this way re-
sults in a logit model. The parameters, γ, are chosen to best match the patterns of admission seen in the
data. Embedded in Xi are indicator variables for the applicant’s race/ethnicity. To the extent that certain
races/ethnicities receive preferences in admissions after taking into account differences in the other char-
acteristics in Xi (e.g. test scores, UNC ratings, etc.) this will be reflected by positive estimates on the
parameters associated with these race/ethnicity indicator variables.
      To the extent that there are unobserved characteristics that are i) informative to the admissions decision
and ii) are correlated with race/ethnicity then the estimate of the relationship between race/ethnicity and
admissions will in part be due to this correlation. The UNC database is unusually rich in its availability of
characteristics that may influence the admissions decisions. Such richness partially mitigates the concern that
race/ethnicity is picking up something else as we are effectively accounting for much of the ‘something else’.
But nonetheless there is always a concern that there may be some other measure out there that would explain
why racial/ethnic differences are present. This concern becomes mitigated as more controls are added and, as
more controls are added, the researcher becomes informed about how the estimates would change if further
(though unavailable) controls were added. For example, if adding controls leads to the estimated coefficient
on a particular group to become more and more positive then we would expect that pattern to continue with
further controls.
      The estimated parameters make it possible to calculate how an applicant’s probability of admission would
change had they been treated like a member of an alternative race/ethnicity. For example, suppose based on
the observable characteristics of the applicant (the X’s) and applicant would have a 25% chance of admis-
sion. This translates into an index value of ln(.25/.75). In order to evaluate how the applicant’s chances of
admission would change as a member of an alternative race/ethnicity, I add to this index value the parameter



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    Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 120 of 121
associated with the alternative race/ethnicity to the index and subtract the parameter associated with the ap-
plicant’s actual race/ethnicity. This yields a new index value, say π ∗ . The probability of admission given this
new index value is then given by exp(π ∗ )/(1 + exp(π ∗ )).


1.2     Modeling ordered outcomes

UNC ratings take on one of a discrete number of values. For example, the program rating takes on the integer
values from one to ten. The values are ordered in the sense that a 10 is better than a 9, a 9 is better than an 8,
etc. Like in the case of admissions, I define a latent index πiR , where i indexes individuals and where

                                               πiR = XiR γ R + εR
                                                                i                                             (3)

where R indexes the rating being considered.
      Suppose, such as the case with the personal quality rating, that the rating takes on one of five values: 1,
3, 5, 7, or 10. Then the observed rating, YiR takes on a particular value, say 3, when π is in a certain range.
Namely:                                        
                                               
                                               
                                                10 if πiR ≥ k10
                                                             R
                                                7 if k10 > πi ≥ k7
                                               
                                               
                                               
                                       YiR   =   5 if k7 > πiR ≥ k5                                           (4)
                                               
                                                 3 if k5 > πiR ≥ k3
                                               
                                               
                                               
                                               
                                               
                                                1 if k > π R ≥
                                               
                                                            3   i

where k10 > k7 > k5 > k3 are the thresholds associated with each ranking. Both the index parameters, γ,
and the thresholds, the k’s, are then estimated. As with the admissions model, a distributional assumption
is required on the ε’s. I again assume a Type 1 extreme value distribution which leads to an ordered logit
model. The probabilities of receiving each of these rankings given Xi is then given by:

                                            exp(k3 − XiR γ R )
                       P r(YiR = 1) =
                                          1 + exp(k3 − XiR γ R )
                                            exp(k5 − XiR γ R )     exp(k3 − XiR γ R )
                       P r(YiR = 3) =                           −
                                          1 + exp(k5 − XiR γ R ) 1 + exp(k3 − XiR γ R )
                                            exp(k7 − XiR γ R )     exp(k5 − XiR γ R )
                       P r(YiR = 5) =                           −
                                          1 + exp(k7 − XiR γ R ) 1 + exp(k5 − XiR γ R )
                                            exp(k10 − XiR γ R )     exp(k7 − XiR γ R )
                       P r(YiR = 7) =                            −
                                          1 + exp(k10 − XiR γ R ) 1 + exp(k7 − XiR γ R )
                                                 exp(k10 − XiR γ R )
                     P r(YiR = 10) = 1 −
                                               1 + exp(k10 − XiR γ R )

As with the logit model of admissions, to the extent that certain races/ethnicities receive preferences in the
ratings after taking into account differences in the other characteristics in XiR (e.g. test scores, UNC’s other
ratings, etc.) this will be reflected by positive estimates of the parameters associated with these race/ethnicity
indicator variables.



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  Case 1:14-cv-00954-LCB-JLW Document 154-25 Filed 01/18/19 Page 121 of 121
